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                                   88949




                          Exhibit 4
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                                   88950




            Chats Affirmatively
            Turning History Off
             (See Appendix C)
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                                   88951




                              Exhibit 4A
                         Custodian: Nitish Korula
                          Witness: Nitish Korula
              Bates No.: GOOG-AT-MDL-B-003992377
                       Trial Exhibit No.: PTX0891
        Case 1:23-cv-00108-LMB-JFA Document 1203-6 Filed 08/23/24 Page 4 of 150 PageID#
                                           88952
  Message

  From:           Nitish Korula [nitish@google.com]
  Sent:           11/12/2019 8:59:25 PM
  To:             Jonathan Pearson [finchley@google.com]; Uchechi Okereke [uchechi@google.com]; Curt Harting
                  [rcharting@google.com]



  •         Nitish Korula, 2 o 19-11-12 12 : 5 9: 2 5
  Curt, Jonathan: Can we preserve old DT files from the last 60 days
  •         Curt Harting, 2 o 1 9-11-12 12 : 5 9 : 3 5
  Talked to Chech now
  •         Nitish Korula, 2 o 19-11-12 12 : 5 9: 3 9
  Ok, great
  •         Curt Harting, 2 o 1 9-11-12 12 : 5 9 : 4 7
  Will email Jonathan to get him up to speed
  •         UchechiOkereke,2019-11-12 12:59:49

  Please can we tum history off?




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                                   88953




                             Exhibit 4B
                        Custodian: Bonita Stewart
                         Witness: Bonita Stewart
              Bates No.: GOOG-AT-MDL-B-004309756
                       Trial Exhibit No.: PTX0896
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                                           88954
  Message


  From:           Cyrus Beagley [cbeagley@google.com]
  Sent:           12/3/2019 7:24:25 PM
  To:             Bonita Stewart [bonita@google.com]



  •         Cyrus Beagley, 2 o1 9 - 12 - o3 11 : 2 4 : 2 5
  Hi Bonita -- Kristina has signed her offer and I&#39;ve had a chance to loop in Jeff and Sam (and J ono ). Am
  planning to send the announcement out more broadly tomorrow. OK to include your leads? Let me know if you
  would prefer to touch base with your team in advance; happy to hold off for a day or two if needed. Kristina is
  also meeting with Michael to explore options to bring him onto the team. We&#39;ll see where that goes.
  •         Cyrus Beagley, 2019-12-03 11:24:37
  Thanks again for all your help throughout this process.
  •         Bonita Stewart, 2 o1 9-12 - o3 11 : 2 9 : o3
  yes. please include my team. That would be great
  •         Cyrus Beagley, 2019-12-03 11:29:10
  thanks
  •         Bonita Stewart, 2 o1 9-12 - o3 11 : 4 o: 2 9
  fyi. on your chats you have the history turned on. we are advised to tum history off so messages are cleared
  after 24 hours
  •         Cyrus Beagley, 2019-12-03 11:41:50
  oh i didn&#39;t know that -- i&#39;ve turned it on soi don&#39;t loose messages! 1&#39;11 turn it off then ...
  @




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                                   88955




                             Exhibit 4C
           Custodian: Prabhakar Raghavan; Sundar Pichai
               Bates No.: GOOG-AT-MDL-018356212
        Case 1:23-cv-00108-LMB-JFA Document 1203-6 Filed 08/23/24 Page 8 of 150 PageID#
                                           88956
  Message


  From:           sundar@google.com [sundar@google.com]
  Sent:           3/3/2020 4:16:47 PM
  To:             sundar@google.com; pragh@google.com
  Subject:        AAAAp70DYgY-vShZM9-mPYU




  •          sundar@googie.com 2020-03-03T16:16:47.476Z
  We can have everyone join at noon
  •          pragh@google.com 2020-03-03Tl6:18:35.601Z
  Let's decide at noon whether to recreate as a History off group chat
  •          pragh@google.com 2020-03-03Tl6:19:27.562Z
  The chat within video meetings loses history when the call ends I believe, but I'll confirm




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                              Exhibit 4D
                     Custodian: Prabhakar Raghavan
                Bates No.: GOOG-AT-MDL-018356213
        Case 1:23-cv-00108-LMB-JFA Document 1203-6 Filed 08/23/24 Page 10 of 150 PageID#
                                            88958
  Message


  From:           pragh@google.com [pragh@google.com]
  Sent:           3/3/2020 4:32:40 PM
  To:             pragh@google.com
  Subject:        AAAAp70DYgY-9Ew-eP8uiec



  •          pragh@google.com 2020-03-03 T 16:32:40.5862
  ok team false start - by the IRC semantics of chat Rooms, History remains ON - so I'm going to kill this room
  and re-create as a group chat with History OFF. sorry about that




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                              Exhibit 4E
               Custodian: Bonita Stewart; Jason Washing
                         Witness: Bonita Stewart
                Bates No.: GOOG-AT-MDL-010699441
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                                          88960
  Message


  From:          Bonita Stewart [bonita@google.com]
  Sent:          4/8/2020 8:03:24 PM
  To:            Jason Washing uwashing@google.com]



  •         Bonita Stewart, 2020-04-08 13: 03: 24
  Thanks for your input pulling together the N&amp;P relief program. I know you&#39;ve had all hands on deck
  working through the details - thank you!
  •         Jason Washing, 2020-04-08 13: 04: 37
  hi, thanks so much. It&#39;s been an around the clock effort. I&#39;m extremely proud of what we are doing it
  and how we have done it under extraordinary circumstances ...
  •         Bonita Stewart, 2 02 0-04-0 s   13: 04: 4 9

  agreed
  •         Bonita Stewart, 2020-04-08 13: 04: 56
  It should be well received
  •         Jason Washing, 2020-04-08 13: 05: 03
  I hope so
  •         Bonita Stewart, 2 02 0-04-0 s   13: 05: 21

  well we will always have 1-2 naysayers
  •         Jason Washing, 2020-04-08 13: 05: 29
  yes!
  •         Jason Washing, 2020-04-08 13: 05: 36
  and we know who they are
  •         Jason Washing, 2020-04-08 13: 05: 39
  ugh
  •         Jason Washing, 2020-04-08 13: 05: 54
  but this is one heck of an olive branch
  •         BonitaStewart,2020-04-08 13:06:12

  btw you might want to tum your chat history off
  •         JasonWashing,2020-04-08 13:06:21

  geez
  •         JasonWashing,2020-04-08 13:06:25

  for sure!
  •         JasonWashing,2020-04-08 13:06:28

  thank you!




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                                    88961




                              Exhibit 4F
               Custodian: Adam Juda; Marcel Crasmaru
                Bates No.: GOOG-AT-MDL-008384936
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                                          88962
  Message


  From:           nazli@google.com [nazli@google.com]
  Sent:           8/8/2022 3:55:25 PM
  To:             nazli@google.com; dkantak@google.com; tinaweyand@google.com; juda@google.com
  Subject:        AAAALQ3NNnE-MBI-FLAT:2022-08-07T20:55:38.064031



  •          nazli@google.com 2022-08-08T 15 :55 :25 .067Z
  Updated room membership.
  •          nazli@google.com 2022-08-08Tl5:55:38.064Z
  Adding all the invitees from the war room
  •          nazli@google.com 2022-08-08Tl5:55:43.458Z
  see you all at 1230 PM PT
  •          nazli@google.com 2022-08-08T15:55:52.821Z
  we will move this to a EU friendlier slot starting tomorrow
  •          nazli@google.com 2022-08-08T 15 :55 :54.072Z
  apologies
  •          dkantak@google.com 2022-08-08T 16:34:29 .68 IZ
  thank you Nazli! see you all at 12:30p
  •          tinaweyand@google.com 2022-08-08T 17 :22:09. 830Z
  I've added Chrissy Seib to today
  •          juda@google.com 2022-08-08Tl 7:22:45.678Z
  so it's no longer a Tech-only meeting?
  •          juda@google.com 2022-08-08Tl 7:24:15.121Z
  Also, I see that History is on in this chat. If that can't be changed, can I please be removed from this discussion?
  •          tinaweyand@google.com 2022-08-08Tl 7:25:36.294Z
  today includes GPL - we need advertiser feedback.
  •          nazli@google.com 2022-08-08Tl 7:25:40.284Z
  agreed lets remove




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                              Exhibit 4G
                          Custodian: Chris LaSala
                           Witness: Chris LaSala
               Bates No.: GOOG-AT-MDL-B-004008622
                        Trial Exhibit No.: PTX1818
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                                            88964
  Message


  From:          Chris LaSala [chrisl@google.com]
  Sent:          8/18/2020 5:54:07 PM
  To:            Nash Islam [nashislam@google.com]



  •         Chris LaSala, 2020-os-18 10: 54: 07
  hi
  •         Nash Islam, 2020-os-18 11:02:26
  hi
  •         Chris LaSala, 2020-os-18 11: 03: oo
  need 30 mins - in mtg with Philipp re: chrome
  •         Nash Islam, 2020-os-18 11: 03: 32
  k no prob, ping me after. im avail in 30
  •         Nashislam,2020-os-1s 11:53:16

  on separate note from IDF A, we have burning issues with a multicall launch
  •         Chris LaSala, 2 02 o-o 8-18 11: 53: 27
  uhoh
  •         Nash Islam, 2020-os-18 11: 53: 30
  you&#39;ll hear about it if not across your desk already
  •         Chris LaSala, 2020-os-18 11: 53: 39
  not caught up on email
  •         Nash Islam, 2020-os-18 11: 53: 39
  will likely be VP escalations
  •         Chris LaSala, 2020-os-18 11: 53: 45
  why?
  •         Nash Islam, 2020-os-18 11:54:27
  major negative revenue impact to a number of off platform pubs
  •         Nash Islam, 2020-os-18 11:54:46
  who are multicalling. There are two camps - aggresive and non aggressive multicall
  •         Nash Islam, 2020-os-18 11: 55: 12
  this was a buyside launch with sellside PM informed, but not as approvers
  •         Nash Islam, 2020-os-18 11: 55: 27
  we learned about it at 20% rollout last week and its scaled up to 50% yest
  •         Nash Islam, 2020-os-18 11: 55: 53
  for JeffBimbaurn&#39;s book alone its $20M+ impact, $10M to Zynga
  •         Nash Islam, 2020-os-18 11:56:22
  siyoung and I can brief you directly soon if helpful
  •         Nash Islam, 2020-os-18 11: 56: 43




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                                           88965
  and Siyoung will send an email brief too
  •        Nash Islam, 2020-08-18 11: 56: 45
  to you
  •        Nash Islam, 2020-08-18 11: 56: 57
  impact list -
  •        Nash Islam, 2020-08-18 11: 56: 58
  <a
  href="https://www.google.com/url ?q=https://docs.google.com/spreadsheets/d/l l22TKgLWUBfprLiEXvSq DJpi
  HEJCJdAh4sHAU9WfiEc/edit%23gid%3DO&amp;sa=D&amp;source=hangouts&amp;ust=159786341902000
  O&amp;usg=AFQjCNH7Hhid8hF-
  lHK7CLi6NP7QFEiglw">https://docs.google.com/spreadsheets/d/1122TKgLWUBfprLiEXvSqDJpiHEJCJdAh
  4sHAU9WfiEc/edit#gid=O</a>
  •        Chris LaSala, 2020-08-18 12: 02: 53
  are you free in 15 mins?
  •        Nash Islam, 2020-08-18 12: 05: 30
  Yep for multicall or idfa or both?
  •        Nash Islam, 2020-08-18 12: 05: 42
  If multi call will include siyoung
  •        Chris LaSala, 2 o2 o- o8 -18 12 : o8 : 2 o
  both
  •        Chris LaSala, 2 o2 o- os -18 12 : o8 : 2 3
  3;20 EST
  •        Nash Islam, 2020-08-18 12:21:19
  Cool ping when ready
  •        Chris LaSala, 2 o2 o- o8 -18 12 : 21 : 2 o
  ok
  •        Chris LaSala, 2 o2 o- o8 -18 12 : 21 : 2 4
  ni-cl
  •        Nash Islam, 2020-08-18 12:21:28
  Siyoungjoining too
  •        Chris LaSala, 2 o2 o- os -18 12 : 21 : 3 s
  ok
  •        Nash Islam, 2020-08-18 12: 51: 03
  impact nums are ~SOM for JeffB&#39;s $250M book. $25M from Zynga and $25M for Unity. Unity may be a
  sissie escalation given her relationship
  •        Chris LaSala, 2020-08-18 13: 01: 59
  do you know how much buy-side changes are because of &#39;efficiency&#39;
  •        Chris LaSala, 2020-08-18 13: 02: 07
  vs decreased win rate




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                                              88966
  •    Chris LaSala, 2 02 o-o 8-18 13: 02: 24
  because if a big part is decreased win rate, we&#39;d expect buyside to adjust
  •      Chris LaSala, 2020-08-18 13: 02: 30
  so the loss will come back
  •      Nash Islam, 2020-08-18 13: 02: 53
  dont know but will look into. good q
  •      Chris LaSala, 2020-08-18 13: 03: 06
  ok
  •      Chris LaSala, 2020-08-18 13: 03: 18
  also, maybe start an off the record ping thread with Duke,you, me
  •      Chris LaSala, 2 02 o-o 8-18 13: 03: 2 o
  about this
  •      Chris LaSala, 2 02 o-o 8-18 13: 03: 2 8
  and lets the 3 of us get on the same page
  •      Chris LaSala, 2020-08-18 13: 03: 37
  about what, if anything, we (sell-side) should do about it
  •      Nash Islam, 2020-08-18 13: 03: 57
  k kicking off now




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                              Exhibit 4H
                         Custodian: Chris LaSala
                           Witness: Chris LaSala
                 Bates No.: GOOG-DOJ-AT-01828942
                       Trial Exhibit No.: PTX0992
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                                          88968
  Message


  From:           Chris LaSala [chrisl@google.com]
  Sent:           9/16/2020 2:38:03 PM
  To:             Nash Islam [nashislam@google.com]



  •         Chris LaSala, 2 o2 o- o9-1 6 o7 : 3 8 : o3
  why would a perfect SKAd solve the IDF A consent issue?
  •         Nash Islam, 2020-09-16 07:48:41
  sissie has signed off
  •         Chris LaSala, 2 o2 o- o9-1 6 o7 : 51 : 1 o
  we need to communicate this to Duke and Naomi
  •         Chris LaSala, 2 o2 o- o9-1 6 o7 : 51 : 1 s
  essentially we pull any discussion of email
  •         Chris LaSala, 2 o2 o- o9-1 6 o7 : 51 : 21
  or log-in
  •         Chris LaSala, 2 o2 o- o9-1 6 o7 : 51 : 2 2
  right?
  •         Nash Islam, 2020-09-16 07:51:36
  yep
  •         Nash Islam, 2020-09-16 07:51:47
  aligned with the direction we&#39;re heading
  •         Nash Islam, 2020-09-16 07:52:21
  looks like best we can do is #3 in the email mention options
  •         Nash Islam, 2020-09-16 07:52:24
  <a
  href="https://www.google.com/url?q=https://docs.google.com/document/d/1vR5BnzSkJoMixoqsSwuRQZo5Tk
  BO82Av2-
  JqsPN23g0/edit%23heading%3Dh.ujxavbs6qxmh&amp;sa=D&amp;source=hangouts&amp;ust=160035434489
  2000&amp;usg=AFQjCNGEJQ0iiRGqJzUaxuyr2AmV5vp8EA">https://docs.google.com/document/d/lvR5Bn
  zSkJ oMixoqsSwuRQZo5TkBO82Av2-J qsPN23 g0/edit#heading=h. ujxavbs6qxmh</a>
  •         Nash Islam, 2020-09-16 07:54:22
  Should i send an email to Duke &amp; Naomi right now on this?
  •         Nash Islam, 2020-09-16 07:56:00
  &quot;Per discussion with Spero &amp; his feedback from PS, we should avoid direct mentions of sign-in and
  email consent in our MSA to align with the negotiating strategy where we will not be specific about our
  alternative approach for measurement and attribution&quot;
  •         Nash Islam, 2020-09-16 07:56:23
  or too sensitive for email so keep on ping?
  •         ChrisLaSala, 2020-09-16 07:58:32
  start a ping with history turned off




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                                                   88969
  •    Chris LaSala, 2 o2 o- o9-1 6 o7 : 5 8 : 4 o
  duke, naomi, alex, me
  •      Nash Islam, 2020-09-16 07:59:33
  k




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                              Exhibit 4I
    Custodian: Amin Charaniya; Joan Braddi; Vidhya Srinivasan
                Bates No.: GOOG-AT-MDL-018491727
        Case 1:23-cv-00108-LMB-JFA Document 1203-6 Filed 08/23/24 Page 23 of 150 PageID#
                                            88971
  Message


  From:           vids@google.com [vids@google.com]
  Sent:           10/6/2020 5:48:31 PM
  To:             bpanda@google.com; touma@google.com; acharaniya@google.com; joan@google.com; vids@google.com;
                  lawrencechang@google.com; karthik@google.com; philm@google.com; nickyc@google.com
  Subject:          1S9sQAAAAE-2020.10.06



  •          vids@google.com 2020-10-06T 17 :48 :31. 936Z
  pls tum off history
  •          lawrencechang@google.com 2020-10-06T 17 :49:35. l 87Z
  oh i see. let's be careful there, karthik.
  •          acharaniya@google.com 2020-10-06Tl 7:51:49.886Z
  touma has some extension that keeps turning history on
  •          touma@google.com 2020-10-06T 17 :52:36. l 19Z
  it's probably easier to remove me from the chat group while i find the extension




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                               Exhibit 4J
                       Custodian: Vidhya Srinivasan
                 Bates No.: GOOG-AT-MDL-014680318
                        Trial Exhibit No.: PTX1000
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  Message


  From:           Vidhya Srinivasan [vids@google.com]
  Sent:           10/29/2020 4:44:03 PM
  To:             Christophe Combette [ccombette@google.com]



  •         Vidhya Srinivasan, 2 02 0-10-2 9 o9: 44: 03
  hi
  •         Vidhya Srinivasan, 2020-10-29 09: 44: 09
  is there a new deck for mtg tomorrow?
  •         Christophe Combette, 2 02 0-10-2 9 o9: 44: 16
  working on it now
  •         Christophe Combette, 2 02 0-10-2 9 o9: 44: 24
  will share before noon
  •         Vidhya Srinivasan, 2020-10-29 09:44:25
  thanks
  •         Christophe Combette, 2 02 0-10-2 9 o9: 45: 42
  have you seen the deck for later today?
  •         Christophe Combette, 2 02 0-10-2 9 o9: 45: 44
  <a
  href="https://www.google.com/url?q=https://docs.google.com/presentation/d/lRB4uFprGQtEjmBkk5MLrjU4r
  ZVVrTL0 l LkLL_ TZ86FY/edit%23slide%3Did.ga506638254 _ 0_ 5&amp;sa=D&amp;source=hangouts&amp;u
  st=l604076344242000&amp;usg=AFQjCNGkXfOMuLyYwhWWMQGGzpAMFPQMkw">https://docs.googl
  e.com/presentation/d/1RB4uFprGQtEjmBkk5MLrjU4rZVVrTL01LkLL_TZ86FY/edit#slide=id.ga506638254_
  0 5</a>
  •         Vidhya Srinivasan, 2 o2 o-1 o- 2 9 o9 : 4 7 : o2
  what should I pay attnetion to?
  •         Christophe Combette, 2 02 0-10-2 9 o9: 4 7: 4 o
  mostly the timeline
  •         Christophe Combette, 2 02 0-10-2 9 o9: 4 s: 03
  and the content of the messaging strategy on p4
  •         Christophe Combette, 2 02 0-10-2 9 o9: 4 s: 3 9
  essentially plan is to go out with something that talks about Anning but doesn&#39;t say whether we will
  comply or not (just that we won&#39;t use IDFA).
  •         Christophe Combette, 2 02 0-10-2 9 o9: 4 9: oo
  Backchannel with the press to try focus the PR on competition
  •         Christophe Combette, 2 02 0-10-2 9 o9: 4 9: os
  (for Apple)
  •         Christophe Combette, 2 02 0-10-2 9 o9: 4 9: 1 s
  If it lands, we go with Plan A
  •         Christophe Combette, 2 02 0-10-2 9 o9: 4 9: 2 s




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  if we land in privacy narratives, we fall back on plan B
  •      Vidhya Srinivasan, 2 o 2 o -1 o - 2 9 o 9 : 4 9 : 4 o
  this is good .. we should add to deck tomorrow
  •       Christophe Combette, 2 o 2 o -1 o - 2 9 o 9 : 4 9 : 4 6
  yes
  •       Christophe Combette, 2 02 0-10-2 9 o 9: 4 9: 51
  I am using this
  •       Christophe Combette, 2 02 0-10-2 9 o 9: 50: 02
  and then going to add more detail on &quot;dreadlines&quot; after phase A
  •       Christophe Combette, 2 02 0-10-2 9 o 9: 50: 1 o
  phase A= initial blog
  •       Christophe Combette, 2 02 0-10-2 9 o 9: 50: 1 7
  the one thing I uncovered yesterday
  •       Christophe Combette, 2 02 0-10-2 9 o 9: 50: 27
  and might come up tomorrow if you are talking to Hiroshi
  •       Christophe Combette, 2 02 0-10-2 9 o 9: 50: 4 o
  it seems as though Android isn&#39;t sold on announcing Anning
  •      Vidhya Srinivasan, 2 02 0-10-2 9 o 9: 51: 04
  can we go thru this togehter at 5:30pm
  •       Christophe Combette, 2 02 0-10-2 9 o 9: 51: o 9
  we need to bring them into the conversation more
  •       Christophe Combette, 2 02 0-10-2 9 o 9: 51: 14
  yes
  •      Vidhya Srinivasan, 2020-10-29 09: 51: 22
  or 5
  •       Christophe Combette, 2 02 0-10-2 9 o 9: 51: 58
  just sent you an invite for 5:30
  •      Vidhya Srinivasan, 2020-10-29 09:52:10
  ok
  •      Vidhya Srinivasan, 2020-10-29 09:59:58
  Does the new French suit against Apple change our strategy
  •       Christophe Combette, 2 02 0-10-2 9 1o:o1:29
  I would assume it helps
  •       Christophe Combette, 2 02 0-10-2 9 1 o: o 1: 44
  the two are very unrelated in that this is about wholesale of hardware
  •       Christophe Combette, 2 02 0-10-2 9 1o:o1:48
  and the app store
  •       Christophe Combette, 2020-10-29 10: 02: 10




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                                          88975
  but on the surface, the story is &quot;Apple&#39;s behavior is not healthy for competition&quot;
  •       Christophe Combette, 2 02 0-10-2 9 1 o: 02: 41
  it&#39;s the kind of tidbit they would add to the articles, like Epic
  •       Vidhya Srinivasan, 2 02 0-10-2 9 1 o: o 6: 21
  what was the eaact suit
  •       Vidhya Srinivasan, 2 02 0-10-2 9 1 o: o 6: 2 s
  exact
  •       Christophe Combette, 2 02 0-10-2 9 1 o: o 6: 42
  <a href="https://www.google.com/url ?q=https://www.cnn.com/2020/03/ l 6/tech/apple-fine-
  france/index.html&amp;sa= D&amp;source=hangouts&amp;ust= 1604077 602625000&amp;usg=AFQj CNHgc 1
  se-IPzOTH4Y qHpllw_ a8QJbg">https://www.cnn.com/2020/03/16/tech/apple-fine-france/index.html</a>
  •       Christophe Combette, 2020-10-29 10: os: 09
  do you know if our pings are privileged/ discoverable?
  •       Vidhya Srinivasan, 2 02 0-10-2 9 1o:os:39
  we should turn history off




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                                    88976




                              Exhibit 4K
                           Custodian: Adam Juda
               Bates No.: GOOG-AT-MDL-B-004468045
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                                          88977
  Message

  From:           John Winfield [winfield@google.com]
  Sent:           11/12/2020 1:05:09 AM
  To:             Liang Ge [lge@google.com]; Myles Sussman [masussman@google.com]; Anand Murugappan
                  [anandmu@google.com]; Ashwin Mysore [ashwinmysore@google.com]; Greg Friedman [gjf@google.com]; Pallavi
                  Garg [pallavigarg@google.com]; Chris Liu [liuxi@google.com]; R. Srikant [srikant@google.com]; Ramakrishnan
                  Kandhan [kramak@google.com]; Seth Micarelli [sethmic@google.com]; Ricardo Suarez [ricardosuarez@google.com];
                  John Green [johndgreen@google.com]; Milan Mitrovic [milanm@google.com]; Darshan Kantak
                  [dkantak@google.com]; Adam Juda [juda@google.com]; Lars Hirsch [hirschl@google.com]
  Subject:        Upcoming Commerce launches drop 5%+ ads revenue



  •          JohnWinfield,2020-11-11 17:05:09

  <a href="https://www.google.com/url?q=https://groups.goog1e.com/a/google.com/g/aq-
  launches/c/mv41KXSgl-
  E&amp;sa=D&amp;source=hangouts&amp;ust=l 605229509878000&amp;usg=AFQjCNEExS6RXNo4fvgjfk
  GBCpCyeuv4sA">https://groups.google.com/a/google.com/g/aq-launches/c/mv41KXSgl-E</a>
  •          John Winfield, 2020-11-11 1 7: os: 43
  that&#39;s the launch as viewed from aq-launches
  •          JohnWinfield,2020-11-11 17:06:27

  but, this begs the question: who is on shopping-ads-commerce-headsup
  •          JohnWinfield,2020-11-11 17:06:33

  if Adam doesn&#39;t have access
  •          Adam Juda, 2020-11-11 17: 07: 01
  How do we tum History off? I don&#39;t do History on Q




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                              Exhibit 4L
                        Custodian: Amin Charaniya
                 Bates No.: GOOG-AT-MDL-010087323
      Case 1:23-cv-00108-LMB-JFA Document 1203-6 Filed 08/23/24 Page 31 of 150 PageID#
                                          88979
  Message


  From:          touma@google.com [touma@google.com]
  Sent:          1/27/2021 5:50:32 PM
  To:            touma@google.com; acharaniya@google.com; iwn@google.com; srireddy@google.com;
                 marcuskrauss@google.com; timir@google.com; dardelean@google.com; ccombette@google.com;
                 vitalyr@google.com
  Subject:       AAAAol8aKxE-M Bl-TH READED:XJTrM 1ggpUs%%%2021-01-26T22:50:32.185919
  Attachments:   Screen Shot 2021-01-28 at 9.39.34 AM.png; Screen Shot 2021-01-28 at 9.39.34 AM.png



  •         touma@google.com 2021-0l-27Tl 7:50:32.185Z
  For Onduo's audit, looks like Amin is the only confirmed attendee from Ringo. @Amin Charaniya, can you
  drive the questions?
  •         Deleted on2022-07-21 Tl 7:50:32.185Z
  For Onduo's audit, looks like Amin is the only confirmed attendee from Ringo. @Amin Charaniya, can you
  drive the questions?
  •         acharaniya@google.com 2021-0l-27T17:52:03.969Z
  i think it's better for the code red team is supposed to be driving. we (ads) will attend the first few sessions but
  my hope is for ads to not be driving these interviews
  •         Deleted on2022-07-21 Tl 7:52:03.969Z
  i think it's better for the code red team is supposed to be driving. we (ads) will attend the first few sessions but
  my hope is for ads to not be driving these interviews
  •         touma@google.com 2021-0l-27Tl 7:53:42.457Z
  who from CR team should be driving? @Sri Reddy, pls confirm.
  •         Deleted on2022-07-21 Tl 7:53:42.457Z
  who from CR team should be driving? @Sri Reddy, pls confirm.
  •         iwn@google.com 2021-0l-27Tl8:04:46.610Z
  i know the least of everyone but happy to jump in ifwe really have nobody
  •         Deleted on2022-07-21 Tl8:04:46.610Z
  i know the least of everyone but happy to jump in if we really have nobody
  •         iwn@google.com 2021-0l-27T 18:05:01.522Z
  (the group might regret that O )
  •         Deleted on2022-07-21 Tl8:05:0l.522Z
  (the group might regret that O )
  •         srireddy@google.com 2021-01-27Tl 8: 15 :4 7 .346Z
  Let's ask Dan to drive if he can
  •         Deleted on2022-07-21 Tl8:15:47.346Z
  Let's ask Dan to drive if he can
  •         marcuskrauss@google.com 2021-0l-27Tl8:21:39.187Z
  For OnDuo specifically, it looks like answering question 7 is really what needs to be solved here. 7) Can teams
  who access it subsequently transform it to inform Ads or a 3P that could use the data for marketing? If no,
  submit nutrition label for upload.




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                                          88980
  •      Deleted on2022-07-21Tl8:21:39.187Z
  For OnDuo specifically, it looks like answering question 7 is really what needs to be solved here. 7) Can teams
  who access it subsequently transform it to inform Ads or a 3P that could use the data for marketing? If no,
  submit nutrition label for upload.
  •      touma@google.com 2021-0l-27T18:22:03.794Z
  We asked Dan; he plans on joining the meetings for the large apps.
  •      Deleted on2022-07-21 T18:22:03.794Z
  We asked Dan; he plans on joining the meetings for the large apps.
  •      marcuskrauss@google.com 2021-01-27Tl8:22:08.681Z
  The team has left it blank, so someone that may be able to talk them through that would help
  •      Deleted on2022-07-21 T18:22:08.681Z
  The team has left it blank, so someone that may be able to talk them through that would help
  •      touma@google.com 2021-0l-27Tl8:22:33.215Z
  We should cancel Onduo's audit if no one is available to drive it. I
  •      Updated on2021-0l-27T18:25:13.655Z
  We should cancel Onduo's audit if no one is available to drive it.
  •      Deleted on2022-07-21 Tl8:22:33.215Z
  We should cancel Onduo's audit if no one is available to drive it.
  •      iwn@google.com 2021-01-27T18:23:45.604Z
  onduo sounds straightforward enough
  •      Deleted on2022-07-21 T18:23:45.604Z
  onduo sounds straightforward enough
  •      iwn@google.com 2021-01-27Tl8:24:55.605Z
  i think we can do this together
  •      Deleted on2022-07-21T18:24:55.605Z
  i think we can do this together
  •      touma@google.com 2021-01-27T18:28:51.865Z
  confirming @Irene Nyavor will drive onduo's audit. Thanks!
  •      Deleted on2022-07-21 T18:28:5 l.865Z
  confirming @Irene Nyavor will drive onduo's audit. Thanks!
  •      iwn@google.com 2021-0l-27T20:01:44.916Z
  Touma and Marcus - thank you both for organizing and wrangling this morning's meetings
  •      Deleted on2022-07-21 T20:01 :44.916Z
  Touma and Marcus - thank you both for organizing and wrangling this morning's meetings
  •      touma@google.com 2021-0 l-27T20:05 :54.622Z
  great work today and thanks to all attendees!
  •      Deleted on2022-07-21 T20:05:54.622Z
  great work today and thanks to all attendees!
  •      timir@google.com 2021-0 l-27T23 :26:57 .344Z




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                                          88981
  Hey guys - I won't be able to make it to our meetings tomorrow from 9:00 - 10:00am (Classroom and Arts and
  Culture). Have a doc appointment. will be able to make it to our 10:00am meeting. @Touma Kunjo @Marcus
  Krauss fyi -
  •       Deleted on2022-07-2 l T23 :26:57 .344Z
  Hey guys - I won't be able to make it to our meetings tomorrow from 9:00 - 10:00am (Classroom and Arts and
  Culture). Have a doc appointment. will be able to make it to our 10:00am meeting. @Touma Kunjo @Marcus
  Krauss fyi -
  •       marcuskrauss@google.com 2021-01-27T23 :33 :29 .676Z
  Just scheduled iGA for tomorrow
  •       Deleted on2022-07-21 T23:33:29.676Z
  Just scheduled iGA for tomorrow
  •       marcuskrauss@google.com 2021-0l-27T23:33:38.154Z
  Thanks, Timir, we'll cover
  •       Deleted on2022-07-21 T23:33:38.154Z
  Thanks, Timir, we'll cover
  •       touma@google.com 2021-0l-27T23:44:11.397Z
  thanks @Timir Shah!
  •       Deleted on2022-07-2 l T23 :44: 1 l.397Z
  thanks @Timir Shah!
  •       marcuskrauss@google.com 2021-01-28Tl 6:52:28.946Z
  As a reminder, these teams today filled out the older set of questions, so please make sure to include newer ones
  during the interview process and we can capture responses in the notes
  •       Deleted on2022-07-22Tl6:52:28.946Z
  As a reminder, these teams today filled out the older set of questions, so please make sure to include newer ones
  during the interview process and we can capture responses in the notes
  •       srireddy@google.com 2021-01-28T16:56:52.992Z
  @Dan Ardelean will you drive the first one since christophe cannot make it?
  •       Deleted on2022-07-22T16:56:52.992Z
  @Dan Ardelean will you drive the first one since christophe cannot make it?
  •       marcuskrauss@google.com 2021-0l-28T16:58:38.995Z
  I'll take notes since Timir is out. I still think it makes sense to use the trix since we can provide context in the
  notes to the answers the team already provided
  •       Deleted on2022-07-22T16:58:38.995Z
  I'll take notes since Timir is out. I still think it makes sense to use the trix since we can provide context in the
  notes to the answers the team already provided
  •       dardelean@google.com 2021-0 l-28T 16:59:30.016Z
  Yes, I can drive. Marcus, please t-up the context
  •       Deleted on2022-07-22T16:59:30.016Z
  Yes, I can drive. Marcus, please t-up the context
  •       dardelean@google.com 2021-01-28T 16:59:38.978Z




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                                           88982
  thank you!
  •       Deleted on2022-07-22Tl6:59:38.978Z
  thank you!
  •       srireddy@google.com 2021-0 l-28T 17 :00:00.339Z
  here's the doc with updated questions and context we can use:
  o              https://drive.google.com/open?id=lpH XbS61Mur18WbwpNCGvAR57aJkik-BgIIVGdJ07iM
  •       Deleted on2022-07-22Tl 7:00:00.339Z
  here's the doc with updated questions and context we can use:
  o              https://drive.gQ_9gle.com/open?id=lpH___ XbS61Murl8WbwpNCGvAR57aJkik-BgIIVGdJ07iM
  •       marcuskrauss@google.com 2021-01-28Tl 7:00: 16.821Z
  thx
  •       Deleted on2022-07-22T 17 :00: 16.82 lZ
  thx
  •       dardelean@google.com 2021-0l-28Tl 7:00:49.832Z
  cool. btw - this group is on record
  •       Deleted on2022-07-22Tl 7:00:49.832Z
  cool. btw - this group is on record
  •       dardelean@google.com 2021-0 l-28T 17:01 :03 .3 77Z
  we should kill it and create one that is single threaded and off the record
  •       Deleted on2022-07-22Tl7:01:03.377Z
  we should kill it and create one that is single threaded and off the record
  •       srireddy@google.com 2021-0 l-28T 17:01 :40.628Z
  not sure why - yes good pt!
  •       Deleted on2022-07-22Tl 7 :0 l :40.628Z
  not sure why - yes good pt!
  •       dardelean@google.com 2021-01-28T 17 :23 :43 .639Z
  ok, cool, I am going to use the main room until the off record chat is created.
  •       Deleted on2022-07-22Tl 7:23:43.639Z
  ok, cool, I am going to use the main room until the off record chat is created.
  •       srireddy@google.com 2021-0 l-28Tl 7 :23 :5 l .964Z
  sg
  •       Deleted on2022-07-22Tl 7:23:5 l.964Z
  sg
  •       ccombette@google.com 2021-01-28T17:36:18.763Z
  is the classroom meeting not happening?
  •       Deleted on2022-07-22Tl7:36:18.763Z
  is the classroom meeting not happening?
  •       srireddy@google.com 2021-01-28Tl 7:36:26.380Z




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                                          88983
  nope
  •       Deleted on2022-07-22Tl 7:36:26.380Z
  nope
  •       ccombette@google.com 2021-0 l-28T 17 :36:33 .538Z
  ah ok
  •       Deleted on2022-07-22Tl 7:36:33.538Z
  ah ok
  •       ccombette@google.com 2021-0l-28Tl 7:36:37.428Z
  I'll drop then
  •       Deleted on2022-07-22Tl 7:36:37.428Z
  I'll drop then
  •       vitalyr@google.com 2021-0l-28Tl 7:36:39.960Z
  already happened in a way
  •       Deleted on2022-07-22Tl 7:36:39.960Z
  already happened in a way
  •       vitalyr@google.com 2021-01-28Tl 7:36:49.588Z
  see the main chat about Workspace apps
  •       Deleted on2022-07-22Tl 7:36:49.588Z
  see the main chat about Workspace apps
  •       marcuskrauss@google.com 2021-01-28Tl 7:41:54.385Z
  I just pinged Alex, and his response was "Classroom is a different org than Workspace, and hasn't been included
  at all up to this point in any of our efforts"
  •       Deleted on2022-07-22Tl 7:41 :54.385Z
  I just pinged Alex, and his response was "Classroom is a different org than Workspace, and hasn't been included
  at all up to this point in any of our efforts"
  •       vitalyr@google.com 2021-0l-28Tl 7:42:30.070Z
  oh
  •       Deleted on2022-07-22Tl 7:42:30.070Z
  oh
  •       marcuskrauss@google.com 2021-0l-28Tl 7:43:00.060Z
  let me try and message the invite to get people back on
  •       Deleted on2022-07-22Tl 7:43:00.060Z
  let me try and message the invite to get people back on
  •       dardelean@google.com 2021-0l-28Tl 7:43:14.957Z
  that's not a very good answer
  •       Deleted on2022-07-22Tl7:43:14.957Z
  that's not a very good answer
  •       dardelean@google.com 2021-0l-28Tl 7:43:25.120Z
  Marcus, let me know if you need help relaying that




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                                          88984
  •       Deleted on2022-07-22Tl7:43:25.120Z
  Marcus, let me know if you need help relaying that
  •       vitalyr@google.com 2021-0l-28Tl 7:43:37.188Z
  maybe the right thing is for Alex to include this in Workspace?
  •       Deleted on2022-07-22Tl 7:43:37.188Z
  maybe the right thing is for Alex to include this in Workspace?
  •       vitalyr@google.com 202 l-0l-28T17:43:41.181 Z
  Dan, wdyt?
  •       Deleted on2022-07-22T17:43:41.181Z
  Dan, wdyt?
  •       dardelean@google.com 2021-01-28T 17 :43 :50.356Z
  1) this is a code red and everyone in the company needs to pitch in and do whatever they can to make this
  happen
  •       Deleted on2022-07-22Tl 7:43:50.356Z
  1) this is a code red and everyone in the company needs to pitch in and do whatever they can to make this
  happen
  •       dardelean@google.com 2021-0l-28Tl 7:44:39.0I0Z
  2) Classroom even though in a different PA, used to be in Workspace a few months ago, so their systems are
  definitely resembling workspace and in fact relying on workspace
  •       Deleted on2022-07-22Tl 7:44:39.0I0Z
  2) Classroom even though in a different PA, used to be in Workspace a few months ago, so their systems are
  definitely resembling workspace and in fact relying on workspace
  •       srireddy@google.com 2021-01-28Tl 7:44:40.406Z
  + 1 to vitaly
  •       Deleted on2022-07-22Tl 7:44:40.406Z
  + 1 to vitaly
  •       marcuskrauss@google.com 2021-01-28Tl 7:45:08.877Z
  OK, let me give it a shot with him again
  •       Deleted on2022-07-22Tl 7:45:08.877Z
  OK, let me give it a shot with him again
  •       dardelean@google.com 2021-0l-28Tl 7:45:09.474Z
  yes, I am just providing the arguments/motivation to give to Alex H.
  •       Deleted on2022-07-22Tl 7:45:09.474Z
  yes, I am just providing the arguments/motivation to give to Alex H.
  •       dardelean@google.com 2021-0l-28Tl 7:46:03.569Z
  3) the central code red team is stretched thin, so to increase productivity and given the closeness of Classroom
  to Workspace, we are asking that they take and run the Classroom audit
  •       Deleted on2022-07-22Tl 7:46:03.569Z
  3) the central code red team is stretched thin, so to increase productivity and given the closeness of Classroom
  to Workspace, we are asking that they take and run the Classroom audit




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                                          88985
  •      dardelean@google.com 2021-0l-28Tl 7:46:51.61 lZ
  sg, Marcus, please relay these 3 points to Alex
  •      Deleted on2022-07-22Tl7:46:51.611Z
  sg, Marcus, please relay these 3 points to Alex
  •      dardelean@google.com 2021-0 l-28T 17 :4 7 :25 .960Z
  who is in charge with creating this room? I really feel super uncomfortable us continuing this on the record
  •      Deleted on2022-07-22Tl 7:47:25.960Z
  who is in charge with creating this room? I really feel super uncomfortable us continuing this on the record
  •      touma@google.com 2021-0l-28Tl 7:49:40.829Z
  history is off for me. maybe someone turned it off after dan's comment?
  •      Deleted on2022-07-22Tl 7:49:40.829Z
  history is off for me. maybe someone turned it off after dan's comment?
  •      dardelean@google.com 2021-0 l-28T 17 :53 :05 .559Z
  @Touma Kunjo where do you see history off for this room? In principle, threaded rooms cannot have history
  off because of how they are implemented.
  •      Deleted on2022-07-22Tl 7:53:05.559Z
  @Touma Kunjo where do you see history off for this room? In principle, threaded rooms cannot have history
  off because of how they are implemented.
  •      touma@google.com 2021-0l-28Tl 7:56:15.316Z
  o              Screen Shot 2021-01-28 at 9.39.34 AM.png
  •      Deleted on2022-07-22T 17 :56: 15 .3 l 6Z
  o              Screen Shot 2021-01-28 at 9.39.34 AM.png
  •      touma@google.com 2021-0 l-28T 17 :56:26.940Z
  before the name changed.
  •      Deleted on2022-07-22Tl 7:56:26.940Z
  before the name changed.
  •      touma@google.com 2021-0 l-28T 17 :56:3 l.660Z
  so you may be right
  •      Deleted on2022-07-22Tl 7:56:3 l.660Z
  so you may be right
  •      touma@google.com 2021-0 l-28T 17 :56:53 .355Z
  im gonna create a new room and kill this one
  •      Deleted on2022-07-22Tl 7:56:53.355Z
  im gonna create a new room and kill this one
  •      touma@google.com 2021-0l-28Tl 7:56:59.506Z
  pls give me 15-20 mins
  •      Deleted on2022-07-22Tl 7:56:59.506Z
  pls give me 15-20 mins
  •      dardelean@google.com 2021-0l-28Tl 7:57:19.593Z




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                                          88986
  sorry I copied everyone into a new room
  •       Deleted on2022-07-22Tl7:57:19.593Z
  sorry I copied everyone into a new room
  •       touma@google.com 2021-01-28Tl 7:57:39.835Z
  @Sri Reddy can you open the play audit meeting? @Timir Shah will take notes. and marcus can't join
  •       Deleted on2022-07-22Tl 7:57:39.835Z
  @Sri Reddy can you open the play audit meeting? @Timir Shah will take notes. and marcus can't join
  •       srireddy@google.com 2021-0l-28Tl 7:57:45.844Z
  thanks dan!
  •       Deleted on2022-07-22Tl 7:57:45.844Z
  thanks dan!
  •       srireddy@google.com 2021-0 l-28Tl 7 :57 :49. l 12Z
  sure will do
  •       Deleted on2022-07-22Tl 7:57:49.112Z
  sure will do
  •       touma@google.com 2021-0l-28Tl 7:58:04.302Z
  and i have to prep other leads for 11 am apple call.
  •       Deleted on2022-07-22Tl 7:58:04.302Z
  and i have to prep other leads for 11 am apple call.
  •       touma@google.com 2021-0l-28Tl 7:58:06.438Z
  thanks so much!
  •       Deleted on2022-07-22Tl 7:58:06.438Z
  thanks so much!
  •       dardelean@google.com 2021-0 l-28T 17 :58:22.857Z
  let's stop using this one
  •       Deleted on2022-07-22Tl 7:58:22.857Z
  let's stop using this one




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                                    88987




                             Exhibit 4M
    Custodian: Adam Juda; Jerry Dischler; Prabhakar Raghavan;
                  Rany Ng; Vidhya Srinivasan
                          Witness: Jerry Dischler
                Bates No.: GOOG-AT-MDL-018491736
      Case 1:23-cv-00108-LMB-JFA Document 1203-6 Filed 08/23/24 Page 40 of 150 PageID#
                                          88988
  Message


  From:           pragh@google.com [pragh@google.com]
  Sent:           1/27/2021 5:38:56 PM
  To:             tlazarus@google.com; dromain@google.com; schacon@google.com; gasca@google.com; juda@google.com;
                  atarbusk@google.com; vids@google.com; pragh@google.com; jboortz@google.com; crhyu@google.com;
                  kirjner@google.com; cathyedwards@google.com; jbx@google.com; srireddy@google.com; ehamon@google.com;
                  rlipscomb@google.com; rany@google.com; nicholas@google.com; taneja@google.com; jdischler@google.com
  Subject:        gOcTfQAAAAE-2021.01.27



  •          pragh@google.com 2021-0l-27Tl 7:38:56.0172
  related to this apple privacy discussion, from today's NYT: "The result is that the data practices of Apple's apps
  are less upfront. If Apple wants to lead the privacy conversation, it can set a better example by making language
  clearer - and its labeling program less self-serving. When I asked why all apps shouldn't be held to the same
  standards, Apple did not address the issue further."
  •          cathyedwards@google.com 2021-01-27T 17 :40: 11.2982
  I worry that this will be like Apple and China - they are just better at handling this press (and their employees)
  than we are so won't be so drawn into an ongoing story
  •          pragh@google.com 2021-01-27Tl 7:40:38.6242
  well then we just need to get a lot better
  •          pragh@google.com 2021-0l-27Tl 7:47:11.7962
  ugh pl stop this chat, for some reason History is on




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                                    88989




                              Exhibit 4N
                         Custodian: Vip Andleigh
                Bates No.: GOOG-AT-MDL-019389207
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                                            88990
  Message


  From:          dallsopp@google.com [dallsopp@google.com]
  Sent:          2/10/2021 9:46:44 PM
  To:            dallsopp@google.com; nazli@google.com; hharding@google.com; vip@google.com; agraja@google.com;
                 crhyu@google.com
  Subject:       AAAAxuS4Mml-ChOrZRdJue8
  Attachments:   cc90401d-35fd-4269-862f-5bc7788404fe.jpg



  •         dallsopp@google.com 2021-02-1 0T21 :46:44.875Z
  What up squad.
  •         nazli@google.com 2021-02-1 0T21:50:01.972Z
  sup!
  •         nazli@google.com 2021-02-10T21:50:05.738Z
  sorry I missed the sync today
  •         dallsopp@google.com 2021-02-1 0T21 :50:40. 709Z
  We are setting up this chat room to keep the info flowing between up.
  •         hharding@google.com 2021-02-10T21:51:04.886Z
  New phone who dis?
  o                cc90401 d-35fd-4269-862f-5bc7788404 fe.jpg
  •         dallsopp@google.com 2021-02-10T21:51:48.837Z
  Only items that can be discussed via chat. if anything substantial i'll try to link up live. Henry .. if CoS chat
  room.
  •         Updated on2021-02-10T21:51:57.166Z
  Only items that can be discussed via chat. if anything substantial i'll try to link up live. Henry .. its CoS chat
  room.
  •         hharding@google.com 2021-02-1 0T21 :54: 17 .860Z
  And also a fun meme chat room, if I have anything to say about it
  •         dallsopp@google.com 2021-02-1 0T21 :54:43 .965Z
  okay got it... u were joking (smile).
  •         nazli@google.com 2021-02-1 0T21 :54:49 .403Z
  LOLZ
  •         dallsopp@google.com 2021-02-1 0T21 :54:56. 729Z
  Note we are likely to see a change in Jerry meeting cadences and audiences
  •         dallsopp@google.com 2021-02-1 0T21 :55 :03 .858Z
  first tibit to share
  •         vip@google.com 2021-02-10T21:56:09.310Z
  can we tum on history for this? feel like there might be stuff to refer back to
  •         dallsopp@google.com 2021-02-1 0T21 :56:21.008Z
  Instead of a VP meeting, we'll like see a Jerry +2 meeting which will address challenges like UX being under
  leveled.




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                                          88991
  •      vip@google.com 2021-02-10T21:57:18.470Z
  also, Henry has already dished up 1 amazing meme, and that should not be forgotten
  •      dallsopp@google.com 2021-02-10T21:57:32.850Z
  Can we also keep the info confidential to this group? Like what ijust shared has not been shared yet with Jerry's
  leads. Its something I am working with Suzanne on.
  •      dallsopp@google.com 2021-02-1 0T21 :57 :43 .229Z
  I NEVER use memes ..... .
  •      vip@google.com 2021-02-10T21:59:28.472Z
  lets keep confi, we can also tum off history. if i see something important, i'll note it down somewhere
  •      vip@google.com 2021-02-10T21:59:59.990Z
  i have scrolled up 3 times to see Henry's meme over and over.
  •      dallsopp@google.com 2021-02-1 0T22:00:07 .333Z
  I also dont know how to tum history on ...
  •      vip@google.com 2021-02-10T22:03:09.080Z
  Meet/Chat is even harder to use than Zoom: https://youtu.be/9f9eDBpnkaU
  o              https://youtu.be/9f9eDBpnkaU
  o              https://www.youtube.com/watch?v=9f9eDBpnkaU
  •      vip@google.com 2021-02-10T22:03:33.977Z
  (actual video from a Texas courtroom hearing over zoom)
  •      agraja@google.com 2021-02-1 0T22:06:22.242Z
  @Vip Andleigh that video made my day
  •      agraja@google.com 2021-02-1 0T22:06:45 .689Z
  Also, thanks for the heads up, Dale. will keep confidential.
  •      crhyu@google.com 2021-02-10T22:07:30.551Z
  yes, ack on confidential and thx for sharing
  •      dallsopp@google.com 2021-02-1 0T23: 16:04.69 IZ
  yo .. that cat video was HILARIOUS!
  •      crhyu@google.com 2021-02-1 0T23: 19:22.232Z
  "recording of this video is prohibiited"
  •      dallsopp@google.com 2021-02-11 TOI :43: 12.161Z
  https://docs.google.com/presentation/d/lkGICYAotgeV-NGwB3ZWiFT-
  Z8eobOnNBqEAGzAfeHBM/edit#slide=id.gbb0c393bc6_0_0
  o          https://docs.google.com/presentation/d/lkG 1CYAotgeV-NGwB3ZWiFT-
  Z8eobOnNBgEAGzAfeHBM/edit#slide=id.gbb0c393bc6 0 0
  o          https://drive.google.com/open?id=lkGICYAotgeV-NGwB3ZWiFT-
  Z8eobOnNBgEAGzAfeHBM
  •      dallsopp@google.com 2021-02-11 TO 1:46:09 .553Z
  Proposal for rebooting Planning, starting by bold objectives outline by team. Next step is fleshing out
  headwinds, using Finance "risk Log" as a starting point. I'll share w/ this group once I have it.




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                                          88992
  •      crhyu@google.com 2021-02-11 T15:58:36.668Z
  Thanks Dale this is really helpful to see. Is it final that APSO is moving to Q2? Just thinking how that impacts
  PAG strategy summits.
  •      dallsopp@google.com 2021-02-11 T16:12:15.008Z
  not final. will respond shortly. closing meeting




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                                    88993




                              Exhibit 4O
                          Custodian: Roshan Khan
                 Bates No.: GOOG-AT-MDL-011693260
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                                          88994
  Message


  From:           Madan Ankapura [mankapura@google.com]
  Sent:           3/5/202112:29:22 PM
  To:             Roshan Khan [roshank@google.com]



  •         lVIadanAnkapura,2021-03-05 04:29:22

  yes -&gt; homecontrols .. one legit use that I wanna to see is garage door opemers
  •         MadanAnkapura,2021-03-05 07:20:44

  re: 3p app stores <br>I responded to your email .. one QI didn&#39;t write in the email was .. eng ownership
  of this .. I think this is a distraction to jorge (IMO) and doesn&#39;t directly align with the car app lib work ..
  this work is better off taken up by the framework team (ie. David and his team) and we can tee it for Q2 - wdyt
  ?
  •         Roshan Khan, 2 o 21- o 3- o 5 o 7 : 21 : 1 9

  Let's figure our position then we can figure out who does the work. Unclear to me best place
  •         Roshan Khan, 2021-03-05 07: 22: 43

  Can you tum history off
  •         Roshan Khan, 2021-03-05 07: 22: 53

  Otherwise let's chat in Vcs




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                                    88995




                              Exhibit 4P
                   Custodian: Aparna Pappu; Jim Giles
                    Witness: Aparna Pappu; Jim Giles
                Bates No.: GOOG-AT-MDL-010777654
                       Trial Exhibit No.: PTX1033
      Case 1:23-cv-00108-LMB-JFA Document 1203-6 Filed 08/23/24 Page 48 of 150 PageID#
                                          88996
  Message


  From:           eruvalcaba@google.com [eruvalcaba@google.com]
  Sent:           6/10/2021 5:09:28 PM
  To:             eruvalcaba@google.com; asweintraub@google.com; bcal@google.com; hsenger@google.com;
                  mchasan@google.com; madhumoorthy@google.com; bryanv@google.com; sophiafaraj@google.com;
                  jimgiles@google.com; arorasarthak@google.com; mulrich@google.com; azarek@google.com;
                  lakshmanans@google.com; apappu@google.com; mattwolf@google.com; shaudy@google.com; argv@google.com
  Subject:        AAAAZgacNcQ-MBI-FLAT:2021-06-10T04:14:35.511327



  •          eruvakaba@google.com 2021-06-lOTl 7:09:28.572Z
  Updated room membership.
  •          Deleted on2022-12-02Tl 7:09:28.572Z
  Updated room membership.
  •          eruvakaba@google.com 2021-06-1 OT 17 :31 :52.296Z
  Updated room membership.
  •          Deleted on2022-12-02Tl 7:3 l:52.296Z
  Updated room membership.
  •          asweintraub@google.com 2021-06-lOTl 7 :43: 19. 734Z
  Updated room membership.
  •          Deleted on2022-12-02Tl 7:43: 19. 734Z
  Updated room membership.
  •          bcal@google.com 2021-06-lOTl 7:58:21.595Z
  Updated room membership.
  •          Deleted on2022-12-02Tl 7:58:21.595Z
  Updated room membership.
  •          hsenger@google.com 2021-06-10Tl8:16:31.367Z
  Updated room membership.
  •          Deleted on2022-12-02T 18: l 6:3 l.367Z
  Updated room membership.
  •          mchasan@google.com 2021-06-1 OT20: 12:50.353Z
  Updated room membership.
  •          Deleted on2022-12-02T20:12:50.353Z
  Updated room membership.
  •          madhumoorthy@google.com 2021-06-1 OT21 :45 :25 .209Z
  Updated room membership.
  •          Deleted on2022-12-02T21 :45 :25 .209Z
  Updated room membership.
  •          bryanv@google.com 2021-06-10T22:42:09.166Z
  Updated room membership.
  •          Deleted on2022-12-02T22:42:09.166Z




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                                          88997
  Updated room membership.
  •      sophiafaraj@google.com 2021-06-1 0T23: 13: 30. 302Z
  Updated room membership.
  •      Deleted on2022-12-02T23:13:30.302Z
  Updated room membership.
  •      bcal@google.com 2021-06-10T23:14:35.51 lZ
  @Sophia Faraj, I think it would be helpful to engage your APAC colleague, in the sense our notification sync
  and communication decision will likely be tomorrow (pending eng work), and this might be a necessary step
  anyway. (If that is something you'd rather do tomorrow during normal hours, that works.)

  We have AIM colleagues in BLR/ZUR are managing the incident during EMEA/AP AC hours.
  •      Deleted on2022-12-02T23:14:35.511Z
  @Sophia Faraj, I think it would be helpful to engage your APAC colleague, in the sense our notification sync
  and communication decision will likely be tomorrow (pending eng work), and this might be a necessary step
  anyway. (If that is something you'd rather do tomorrow during normal hours, that works.)

  We have AIM colleagues in BLR/ZUR are managing the incident during EMEA/AP AC hours.
  •      jimgiles@google.com 2021-06-10T23:18:51.257Z
  Updated room membership.
  •      Deleted on2022-12-02T23:18:51.257Z
  Updated room membership.
  •      sophiafaraj@google.com 2021-06-1 0T23: l 9:32.528Z
  I had a sync with@Amith Gopinath my IEM counterpart, he has awareness of this issue in order to monitor if
  there is the notification confirmation made, otherwise I can take this up tomorrow.
  •      Deleted on2022-12-02T23:19:32.528Z
  I had a sync with @Amith Gopinath my IEM counterpart, he has awareness of this issue in order to monitor if
  there is the notification confirmation made, otherwise I can take this up tomorrow.
  •      arorasarthak@google.com 2021-06-1 0T23 :23 :27 .808Z
  @Tony Scelfo let's use http://scripts/script_60._c13d04_0000_234b_8lc6_94eb2c0cf8c4 since we have too
  many scripts going around. We'll only update that once we have confidence in the query yielding expected
  results
  o             http://scripts/script 60. c13d04 0000 234b 8lc6 94eb2c0cf8c4
  •      Deleted on2022-12-02T23:23:27.808Z
  @Tony Scelfo let's use http://scripts/script_60._c13d04_0000_234b_8lc6_94eb2c0cf8c4 since we have too
  many scripts going around. We'll only update that once we have confidence in the query yielding expected
  results
  o             http://scripts/script 60. c 13d04 0000 234b 8 lc6 94eb2c0cf8c4
  •      sophiafaraj@google.com 2021-06-10T23:32:39.332Z
  Also just want to FYI -- per our engagement process IEM engagement ends after 6 pm pt. APAC does have
  awareness and If we have not reached a decision point by this time then I will plan on taking it up during
  AMER business hours 0
  •      Deleted on2022-12-02T23:32:39.332Z




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                                          88998
  Also just want to FYI -- per our engagement process IEM engagement ends after 6 pm pt. AP AC does have
  awareness and If we have not reached a decision point by this time then I will plan on taking it up during
  AMER business hours 0
  •      jimgiles@google.com 2021-06-10T23:43:32.874Z
  Updated room membership.
  •      Deleted on2022-12-02T23:43:32.874Z
  Updated room membership.
  •      madhumoorthy@google.com 2021-06-1 0T23 :5 8: 12.102Z
  I have got approval to change the retention from 45days to 55 days(max)
  (link:https://logsfrontdoor. corp. goo gle .com/#proposal/madhumoorthy.1483 82005)
  o              https://logsfrontdoor.corp.google.com/#proposal/madhumoorthy.1483 82005
  •      Deleted on2022-12-02T23:58:12.102Z
  I have got approval to change the retention from 45days to 55 days(max)
  (li nk:https://logs frontdoor .corp. goo gl e. com/#proposal/madhumoorthy.1483 82005)
  o              https://logsfrontdoor.corp.goo_gle.com/#proposal/madhumoorthv.1483 82005
  •      mulrich@google.com 2021-06-10T23:59:08.968Z
  Updated room membership.
  •      Deleted on2022-12-02T23:59:08.968Z
  Updated room membership.
  •      jimgiles@google.com 2021-06-10T23:59:39.193Z
  Thanks Madhu
  •      Deleted on2022-12-02T23:59:39.193Z
  Thanks Madhu
  •      azarek@google.com 2021-06-11 T00:20:47.538Z
  Updated room membership.
  •      Deleted on2022-12-03T00:20:47.538Z
  Updated room membership.
  •      jimgiles@google.com 2021-06-11 T00:31 :21.138Z
  Updated room membership.
  •      Deleted on2022-12-03T00:31:21.138Z
  Updated room membership.
  •      lakshmanans@google.com 2021-06-11 T00:32:08.232Z
  Updated room membership.
  •      Deleted on2022-12-03T00:32:08.232Z
  Updated room membership.
  •      mchasan@google.com 2021-06-11 T00:41 :39 .289Z
  Please keep history off on this legally sensitive chat room
  •      Deleted on2022-12-03T00:41:39.289Z
  Please keep history off on this legally sensitive chat room




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                                          88999
  •      apappu@google.com 2021-06-11 T00:45:30.150Z
  @Mike Chasan who all have we debriefed in legal?
  •      Deleted on2022-12-03T00:45:30.150Z
  @Mike Chasan who all have we debriefed in legal?
  •      bcal@google.com 2021-06-11 T00:46:29 .213Z
  Updated room membership.
  •      Deleted on2022-12-03 T00:46:29 .213Z
  Updated room membership.
  •      mattwolf@google.com 2021-06-11 T01:45:32.483Z
  Updated room membership.
  •      Deleted on2022-12-03T01:45:32.483Z
  Updated room membership.
  •      apappu@google.com 2021-06-11 T03:56:29.977Z
  Updated room membership.
  •      Deleted on2022-12-03T03:56:29.977Z
  Updated room membership.
  •      apappu@google.com 2021-06-11 T03:56:43.208Z
  Updated room membership.
  •      Deleted on2022-12-03T03:56:43.208Z
  Updated room membership.
  •      apappu@google.com 2021-06-11 T03:56:54.145Z
  Updated room membership.
  •      Deleted on2022-12-03T03:56:54.145Z
  Updated room membership.
  •      shaudy@google.com 2021-06-11 T03:56:58.347Z
  Updated room membership.
  •      Deleted on2022-12-03T03:56:58.347Z
  Updated room membership.
  •      apappu@google.com 2021-06-11 T03:57:09.088Z
  Updated room membership.
  •      Deleted on2022-12-03T03:57:09.088Z
  Updated room membership.
  •      apappu@google.com 2021-06-11 T03 :57 :2 l .055Z
  Updated room membership.
  •      Deleted on2022-12-03T03:57:21.055Z
  Updated room membership.
  •      argv@google.com 2021-06-11 T04:45:04.135Z
  Updated room membership.




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                                          89000
  •      Deleted on2022-12-03T04:45:04.135Z
  Updated room membership.
  •      apappu@google.com 2021-06-11 T04:53:02.012Z
  Updated room membership.
  •      Deleted on2022-12-03T04:53:02.012Z
  Updated room membership.
  •      madhumoorthy@google.com 2021-06-11 T05:24:l 7.581Z
  Updated room membership.
  •      Deleted on2022-12-03T05:24:17.581Z
  Updated room membership.




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                                    89001




                              Exhibit 4Q
                         Custodian: Sundar Pichai
               Bates No.: GOOG-AT-MDL-B-004073824
     Case 1:23-cv-00108-LMB-JFA Document 1203-6 Filed 08/23/24 Page 54 of 150 PageID#
                                         89002
  Message


  From:           sundar@google.com [sundar@google.com]
  Sent:           10/12/20214:53:16 AM
  To:             sundar@google.com; emilysinger@google.com
  Subject:        AAAArXi46TM-MBI-THREADED:SBgcVRDjcBQ%%%2021-10-11T09:53:16.093967



  sundar@google.com October 12, 2021 at 4:53:16AM UTC
  Need the link for my leaders circle tomorrow



  Deleted on April 5, 2023 at 4:53:16 AM UTC
  Need the link for my leaders circle tomorrow



  sundar@google.com October 12, 2021 at 4:53:28AM UTC
  also can we change the setting of this group to history off



  Deleted on October 12, 2021 at 4:53:37 AM UTC
  also can we change the setting of this group to history off



  sundar@google.com October 12, 2021 at 4:53:29 AM UTC
  thanks



  Deleted on April 5, 2023 at 4:53:29 AM UTC
  thanks



  emilysinger@google.com October 12, 2021 at 4:53:40 AM UTC
  Sure: here is link ...



  Deleted on April 5, 2023 at 4:53:40 AM UTC
  Sure: here is link ...



  emilysinger@google.com October 12, 2021 at 4:53:45 AM UTC
  https ://docs.google. com/document/ d/161xXL_ k0ok6N hDXOn TZw-tr76LZpgODBp_ CfqT dotTs/ed it?resou rcekey=0-
  _ CN mvg HKQGU Lh TywnpcXgg
  https://drive.google.com/open?id=161xXL k0ok6NhDX0nTZw-tr76LZpgODBp CfqTdotTs
  https://docs.google.com/document/d/161xXL k0ok6NhDX0nTZw-
  tr76LZpgODBp CfqTdotTs/edit?resourcekey=0- CNmvgHKQGULhTywnpcXgg


  Deleted on April 5, 2023 at 4:53:45 AM UTC




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                                         89003
  https ://docs.google. com/document/d/161xXL_ k0ok6N hDX0n TZw-tr76LZpgODBp_ CfqT dotT sled it?resou rcekey=0-
  _ CN mvg HKQGU Lh TywnpcXgg
  https://drive.google.com/open?id=16IxXL k0ok6NhDX0nTZw-tr76LZpgODBp CfqTdotTs
  https://docs.google.com/document/d/16IxXL k0ok6NhDX0nTZw-
  tr76LZpgODBp CfqTdotTs/edit?resourcekey=0- CNmvgHKQGULhTywnpcXgg


  sundar@google.com October 12, 2021 at 4:55:19 AM UTC
  thanks



  Deleted on April 5, 2023 at 4:55:19 AM UTC
  thanks



  sundar@google.com October 12, 2021 at 5:17:38AM UTC
  the third question is a bit of a mess



  Deleted on April 5, 2023 at 5:17:38 AM UTC
  the third question is a bit of a mess



  sundar@google.com October 12, 2021 at 5:17:58AM UTC
  not fully clear - as it covers a lot and long meandering answer which not clear too



  Deleted on April 5, 2023 at 5:17:58 AM UTC
  not fully clear - as it covers a lot and long meandering answer which not clear too



  sundar@google.com October 12, 2021 at 5:18:11 AM UTC
  am talking about google apps , building for companies, future of work etc



  Deleted on April 5, 2023 at 5:18:11 AM UTC
  am talking about google apps , building for companies, future of work etc



  sundar@google.com October 12, 2021 at 5:18:17 AM UTC
  the other three are good



  Deleted on April 5, 2023 at 5:18:17 AM UTC
  the other three are good



  emilysinger@google.com October 12, 2021 at 5:18:25 AM UTC
  Ok will take a look and try to restructure to make cleare




HIGHLY CONFIDENTIAL                                                                     GOOG-AT-MDL-B-004073825
    Case 1:23-cv-00108-LMB-JFA Document 1203-6 Filed 08/23/24 Page 56 of 150 PageID#
                                             89004
  Deleted on April 5, 2023 at 5:18:25 AM UTC
  Ok will take a look and try to restructure to make cleare



  emilysinger@google.com October 12, 2021 at 5:18:27 AM UTC
  r



  Deleted on April 5, 2023 at 5:18:27 AM UTC
  r



  emilysinger@google.com October 12, 2021 at 5:59:17 AM UTC
  I simplified the answer for Q # 3 considerably. Just two parts to it now, both of which will be familiar themes. Sorry
  it took a bit to get there.



  Deleted on April 5, 2023 at 5:59:17 AM UTC
  I simplified the answer for Q # 3 considerably. Just two parts to it now, both of which will be familiar themes. Sorry
  it took a bit to get there.



  sundar@google.com October 12, 2021 at 6:09:06AM UTC
  Thanks!



  Deleted on April 5, 2023 at 6:09:06 AM UTC
  Thanks!




HIGHLY CONFIDENTIAL                                                                           GOOG-AT-MDL-B-004073826
Case 1:23-cv-00108-LMB-JFA Document 1203-6 Filed 08/23/24 Page 57 of 150 PageID#
                                    89005




                              Exhibit 4R
                          Custodian: Woojin Kim
                           Witness: Woojin Kim
                Bates No.: GOOG-AT-MDL-008836562
      Case 1:23-cv-00108-LMB-JFA Document 1203-6 Filed 08/23/24 Page 58 of 150 PageID#
                                          89006
  Message


  From:           gomes@google.com [gomes@google.com]
  Sent:           11/4/2021 4:38:36 PM
  To:             gomes@google.com; woojink@google.com
  Subject:        AAAA2pix6vU-MBI-THREADED:MExf47Moeo4%%%2021-11-03T21:38:36.693711



  •          gomes@google.com 2021-l l-04Tl6:38:36.693Z
  Ok - I created the space! Let's see what this new fanciness offers
  •          woojink@google.com 2021-l l-04Tl6:39:15.556Z
  can you turn off history?
  •          woojink@google.com 2021-11-04 Tl 6:39:40.559Z
  and could you add katie kurtz pls
  •          gomes@google.com 2021-11-04Tl 6:50:51.761Z
  Added Katie - if you have threading, then history is on, so this is basically like email.




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Case 1:23-cv-00108-LMB-JFA Document 1203-6 Filed 08/23/24 Page 59 of 150 PageID#
                                    89007




                              Exhibit 4S
                       Custodian: Danielle Romain
                Bates No.: GOOG-AT-MDL-010366478
                        Trial Exhibit No.: PTX1797
      Case 1:23-cv-00108-LMB-JFA Document 1203-6 Filed 08/23/24 Page 60 of 150 PageID#
                                          89008
  Message


  From:           yvettehc@google.com [yvettehc@google.com]
  Sent:           11/10/20216:15:58 PM
  To:             yvettehc@google.com; dromain@google.com
  Subject:        AAAAAiEErHE-MBI-FLAT:2021-11-09T23:15:58.284495



  •          yvettehc@google.com 2021-11-10T18:15:58.284Z
  ok for me to keep history on here? need to keep some info for memory purposes 0
  •          dromain@google.com 2021-11-10T18:34:34.134Z
  Yvette, unfortunately, I'm not supportive of turning history on. The discussion that started this thread gets into
  legal and potentially competitive territory, which I'd like to be conscientious of having under privilege. So that
  you're aware, when history is on, it's discoverable. Sometimes that's totally fine but I'd like to stick to the
  default of history off. Thanks




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Case 1:23-cv-00108-LMB-JFA Document 1203-6 Filed 08/23/24 Page 61 of 150 PageID#
                                    89009




                              Exhibit 4T
                           Custodian: Adam Juda
               Bates No.: GOOG-AT-MDL-B-004468047
     Case 1:23-cv-00108-LMB-JFA Document 1203-6 Filed 08/23/24 Page 62 of 150 PageID#
                                         89010
  Message


  From:        wendyklogan@google.com [wendyklogan@google.com]
  Sent:        11/17/20211:16:39 AM
  To:          wendyklogan@google.com; aysundemircan@google.com; sunitav@google.com; iljic@google.com;
               juda@google.com
  Subject:     AAAASdp5bsM-MBI-THREADED:n2sQpiPWcRM%%%2021-11-16T06:16:39.796319



  wendyklogan@google.com November 17, 2021 at 1 :16:39 AM UTC
  Adding Aysun, who is excited to drive and coordinate this effort from a Business Strategy perspective. Welcome



  Deleted on May 11, 2023 at 1 :16:39 AM UTC
  Adding Aysun, who is excited to drive and coordinate this effort from a Business Strategy perspective. Welcome



  aysundemircan@google.com November 17, 2021 at 1 :22:11 AM UTC
  Thank you, Wendy! Team - I am super excited to be part of this effort!!



  Deleted on May 11, 2023 at 1 :22:11 AM UTC
  Thank you, Wendy! Team - I am super excited to be part of this effort!!



  aysundemircan@google.com November 17, 2021 at 1 :22:42 AM UTC
  p.s. I was thinking about what we can do in the space even earlier this year and wondering who/ which team I
  could reach out to -- and here I am Q



  Deleted on May 11, 2023 at 1 :22:42 AM UTC
  p.s. I was thinking about what we can do in the space even earlier this year and wondering who/ which team I
  could reach out to -- and here I am Q



  sunitav@google.com November 17, 2021 at 2:06:30 AM UTC
  Great to have you involved!



  Deleted on May 11, 2023 at 2:06:30 AM UTC
  Great to have you involved!



  iljic@google.com November 17, 2021 at 3:24:29 AM UTC
  Welcome Aysun! We have our work cut out for us, should be fun! :-)



  Deleted on May 11, 2023 at 3:24:29 AM UTC
  Welcome Aysun! We have our work cut out for us, should be fun! :-)




HIGHLY CONFIDENTIAL                                                                         GOOG-AT-MDL-B-00446804 7
     Case 1:23-cv-00108-LMB-JFA Document 1203-6 Filed 08/23/24 Page 63 of 150 PageID#
                                           89011
  juda@google.com November 17, 2021 at 2:43:40 PM UTC
  What is the history status of this group?



  Deleted on May 11, 2023 at 2:43:40 PM UTC
  What is the history status of this group?



  wendyklogan@google.com November 17, 2021 at 8:33:57 PM UTC
  Given it's a thread chat room, we cannot turn history off and chat retention is 18 months.
  https://support.google.com/info-gov/answer/9366391
  https://support.google.com/info-gov/answer/9366391


  Deleted on May 11, 2023 at 8:33:57 PM UTC
  Given it's a thread chat room, we cannot turn history off and chat retention is 18 months.
  https://support.google.com/info-gov/answer/9366391
  https://support.google.com/info-gov/answer/9366391


  wendyklogan@google.com November 17, 2021 at 8:34:34 PM UTC
  We can pivot to group chat with history off -- or --- keep the current setup and only reserve this space for non-
  sensitive discussions



  Updated on November 17, 2021 at 8:34:46 PM UTC
  We can pivot to group chat with history off -- or --- keep the current setup and reserve this space for non-sensitive
  discussions



  Updated on November 17, 2021 at 8:34:58 PM UTC
  We can pivot to group non-threaded chat with history off -- or --- keep the current setup and reserve this space for
  non-sensitive discussions



  Deleted on May 11, 2023 at 8:34:34 PM UTC
  We can pivot to group non-threaded chat with history off -- or --- keep the current setup and reserve this space for
  non-sensitive discussions



  juda@google.com November 17, 2021 at 8:38:27 PM UTC
  My preference is history off



  Deleted on May 11, 2023 at 8:38:27 PM UTC
  My preference is history off



  wendyklogan@google.com November 17, 2021 at 9:07:09 PM UTC




HIGHLY CONFIDENTIAL                                                                            GOOG-AT-MDL-B-004468048
     Case 1:23-cv-00108-LMB-JFA Document 1203-6 Filed 08/23/24 Page 64 of 150 PageID#
                                         89012
  sounds good. Will pivot to Google Chat vs. Google Spaces



  Deleted on May 11, 2023 at 9:07:09 PM UTC
  sounds good. Will pivot to Google Chat vs. Google Spaces




HIGHLY CONFIDENTIAL                                                 GOOG-AT-MDL-B-004468049
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                                    89013




                              Exhibit 4U
                           Custodian: Martin Pal
                            Witness: Martin Pal
                Bates No.: GOOG-AT-MDL-011236786
    Case 1:23-cv-00108-LMB-JFA Document 1203-6 Filed 08/23/24 Page 66 of 150 PageID#
                                        89014
  Message


  From:         cilvento@google.com [cilvento@google.com]
  Sent:         12/15/20218:20:47 PM
  To:           cilvento@google.com; mpal@google.com; tris@google.com
  Subject:      AAAAEsnvUs0-M BI-FLAT:2021-12-15101:36:59.138767



  cilvento@google.com December 15, 2021 at 8:20:47 PM UTC
  Updated room membership.



  Deleted on June 8, 2023 at 8:20:47 PM UTC
  Updated room membership.



  mpal@google.com December 15, 2021 at 8:36:59 PM UTC
  Hope it's OK to have chat history on



  Deleted on June 8, 2023 at 8:36:59 PM UTC
  Hope it's OK to have chat history on



  mpal@google.com December 15, 2021 at 8:37:26 PM UTC
  Would it also make sense to set up a mailing list? Locked down, probably



  Deleted on June 8, 2023 at 8:37:26 PM UTC
  Would it also make sense to set up a mailing list? Locked down, probably



  cilvento@google.com December 15, 2021 at 8:38:34 PM UTC
  Sure!



  Deleted on June 8, 2023 at 8:38:34 PM UTC
  Sure!



  tris@google.com December 15, 2021 at 9:13:26 PM UTC
  We want chat history on? I would generally prefer for us to keep history off. Is there a strong reason to keep this
  on?



  Deleted on June 8, 2023 at 9:13:26 PM UTC
  We want chat history on? I would generally prefer for us to keep history off. Is there a strong reason to keep this
  on?




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                                        89015
  cilvento@google.com December 15, 2021 at 9:32:31 PM UTC
  I think history is on at this point



  Deleted on June 8, 2023 at 9:32:31 PM UTC
  I think history is on at this point



  cilvento@google.com December 15, 2021 at 9:32:40 PM UTC
  But we'll turn it off now as discussed



  Deleted on June 8, 2023 at 9:32:40 PM UTC
  But we'll turn it off now as discussed



  mpal@google.com December 15, 2021 at 9:32:40 PM UTC
  let's turn it off then



  Deleted on June 8, 2023 at 9:32:40 PM UTC
  let's turn it off then




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Case 1:23-cv-00108-LMB-JFA Document 1203-6 Filed 08/23/24 Page 68 of 150 PageID#
                                    89016




                              Exhibit 4V
                          Custodian: Vip Andleigh
                Bates No.: GOOG-AT-MDL-012246761
      Case 1:23-cv-00108-LMB-JFA Document 1203-6 Filed 08/23/24 Page 69 of 150 PageID#
                                          89017
  Message


  From:           alexsunm@google.com [alexsunm@google.com]
  Sent:           2/1/2022 2:37:24 PM
  To:             alexsunm@google.com; dallsopp@google.com; hharding@google.com; tarunsingh@google.com;
                  kevinmccaffrey@google.com; ndanziger@google.com; wenjiesun@google.com; jorgeluthe@google.com;
                  lissaseem@google.com; wendyklogan@google.com; atarbusk@google.com; kimlydia@google.com;
                  vip@google.com; justinungson@google.com; dyc@google.com; brownadam@google.com; meigs@google.com;
                  craigma@google.com
  Subject:        AAAAx8WH14w-MBI-FlAT:2022-01-31T19:37:24.271775



  •          alexsunm@google.com 2022-02-01 Tl4:37:24.271Z
  Happy Lunar new year team!! It's the year of~ and wish you a roaring new year!!! When I grew up in China
  we always get together with extended family and parents / grandparents would give us money in red envelopes
  (it's all digital now!!) We ate a lot of dumplings and played with firecrackers (I'm happy to still have all my
  fingers). Hope everyone have good fortune and health!
  •          dallsopp@google.com 2022-02-01 T14:37:44.099Z
  hahahahaha
  •          dallsopp@google.com 2022-02-01 T14:38:08.414Z
  thanks Alex! Celebrate!
  •          hharding@google.com 2022-02-01 T14:38:28.599Z
  Thanks Alex. I am definitely accepting money, in envelopes or otherwise!
  •          daUsopp@google.com 2022-02-01 T 14:39:21. 785Z
  but only from people with all digits?
  •          hharding@google.com 2022-02-01 Tl 4:40:46.198Z
  ... literally everyone should send me money, digit-status does not matter
  •          tarunsingh@google.com 2022-02-01 Tl5:06:20.256Z
  Henry's venmo is @singhtarun in case anyone didn't have it
  •          tarunsingh@google.com 2022-02-01 Tl5:06:33.373Z
  Happy new year Alex
  •          dallsopp@google.com 2022-02-01 T15:07:05.443Z
  hahahahahahahah
  •          kevinmccaffrey@google.com 2022-02-01 T15:40:46.531Z
  happy new year
  •          ndanziger@google.com 2022-02-01 T15:44: 13.766Z
  happy new year!
  •          wenjiesun@google.com 2022-02-01T16:37 :31.834Z
  happy lunar new year! □
  •          jorgeluthe@google.com 2022-02-01 Tl 6:41 :56.483Z
  Happy New Year!!
  •          lissaseem@google.com 2022-02-01 T 17 :03:01.613Z
  Happy New Year everyone!!




CONFIDENTIAL                                                                                   GOOG-AT-MDL-012246761
      Case 1:23-cv-00108-LMB-JFA Document 1203-6 Filed 08/23/24 Page 70 of 150 PageID#
                                          89018
  •              wendyklogan@google.com 2022-02-01 Tl 7:37:28.4122
  I only accept and send ETH these days
  •              wendyklogan@google.com 2022-02-01 T 17:37:38.5832
  Happy Lunar New Year and BHM team!
  •              ndanziger@google.com 2022-02-01 Tl 7:37:48.2332
  no dogecoin?
  •              atarbusk@google.com 2022-02-01 Tl8:27:33.6352
  Dam you, @Nick Danziger! I'm now a Wordle addict! But I just got my first solve in 2! ! Wordle 227 2/6
           □□ I]
      LJ    LJ

  •              jorgeluthe@google.com 2022-02-01 T18:42:39.9432
  Very impressive!
  •              atarbusk@google.com 2022-02-01 Tl8:43:02.7342
  Thanks! Quite a bit ofluck, too!
  •              ndanziger@google.com 2022-02-01 Tl 9:38: 12.2132
  Second guess! Awesome!
  •              kimlydia@google.com 2022-02-02Tl6:40:24.3012
  A little late but... happy new year!
  •              kimlydia@google.com 2022-02-02T 16:41 :51.2542
  hahaha@Tarun Singh we haven't met yet (hellooo!) but started off the morning solo LOLing #venmohenry
  •              ndanziger@google.com 2022-02-02T 16:52:41.1922
  on another note, is anyone else stunned that olympics coverage is starting already today?
  •              tarunsingh@google.com 2022-02-02T 17 :40:05 .3412
  the delayed tokyo olympics definitely made it like we never stopped being in olympics mode
  •              vip@google.com 2022-02-02T18:01 :35.3952
  note: until 1992, the summer+winter olympics were held in the same year. They split winter and summer after
  that year. and have since added snowboarding, which opened the gates to events like "slopestyle" Q
  •              tarunsingh@google.com 2022-02-02T 18:02:21.8142
  the first solo winter olympics were lillehammer right?
  •              ndanziger@google.com 2022-02-02Tl8:05:l 7.l 702
  don't know the answer to that, but apparently this year they added the mono bob
  •              ndanziger@google.co m 2022-02-02 T 18: 0 5: 18. 977 2
  which sounds amazing
  •              justimmgson@google.com 2022-02-02Tl8:08:23.8112
  @Tarun Singh I believe so. 1994? I remember them making a big deal about it.
  •              atarbusk@google.com 2022-02-02Tl8:58:33.3392
  Hey everyone! Tomorrow is our All Hands! Please head to the dory and tell us what's on your mind!
  https ://dory.corp. goo gle. com/ads-so-all-hands
  o                     https://dory.corp.google.corn/ads-so-all-hands




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      Case 1:23-cv-00108-LMB-JFA Document 1203-6 Filed 08/23/24 Page 71 of 150 PageID#
                                          89019
  •       alexsunm@google.com 2022-02-02T 19:06:39 .024Z
  Updated room membership.
  •       tarunsingh@google.com 2022-02-02T2 l: 11 :35 .025Z
  FB got crushed in earnings and has horrible future outlook - @Vip Andleigh would be interesting to see what
  headwinds theyre facing that we arent
  •       tarunsingh@google.com 2022-02-02T21: 11 :57 .003Z
  i know our YT #s missed the street expectation by a bit so I wonder if this is a headwind for all of social
  •       tarunsingh@google.com 2022-02-02T2 l: 12:08.427Z
  and how we should think about 2022 strategy for our social properties
  •       ndanziger@google.com 2022-02-02T21: 12:09.569Z
  or all of the metaverse ...
  •       vip@google.com 2022-02-02T21 :31 :3 l. l 62Z
  @Dan Chen is probably closer on the FB perspective
  •       vip@google.com 2022-02-02T2 l :33 :44.206Z
  holy moly. FB down 23% in afterhours. my guess is that their strategy for iOS did not pan out well (they
  seemed to get a really late start on their strategy there). I'd also assume engagement is weakening on the core
  app and hurting their cross-platform measurement products, etc.
  •       dallsopp@google.com 2022-02-02T2 l :34:27. l 85Z
  Dan Chen and Vip on the same thread ... .is this like dejavu?
  •       dyc@google.com 2022-02-02T21:37:04.738Z
  Took a quick glance at the press release. Q4 looks okay, but they appear to be guiding Ql revenue well below
  consensus (5-10% below). They say it's on both pricing and impression deceleration. They are blaming a shift
  to Reels (lower CPM than stories and news feed) and ATT. I wonder if they are struggling on the engagement
  side more broadly. Let's see what they say on their earnings call ...
  •       vip@google.com 2022-02-02T21 :44:58.228Z
  also - every year, they sandbag their guidance and over deliver through the year. so take their guidance with a
  grain of salt (even though the stock market does not)
  •       dyc@google.com 2022-02-02T2 l :50:32.109Z
  They do tend to sandbag a bit... but their guide feels more below consensus than normal
  •       brownadam@google.com 2022-02-02T2 l :51:01.685Z
  The other factor I'd throw out there is increased competition. TikTok is growing at an unreal rate and just
  overtook Google.com as the highest traffic domain
  o               http://Google.com
  •       alexsunm@google.com 2022-02-02T22:08:34.778Z
  This is becoming a common thing now NFLX, FB and PYPL! !!
  •       dyc@google.com 2022-02-02T22:50:23.368Z
  Wow, they estimate an ATT impact of $10B in 2022
  •       tanmsingh@google.com 2022-02-02T22:51 :03.473Z
  they also called out what they said was "preferential treatment" for google search a few times
  •       dyc@google.com 2022-02-02T22:52:02.3 l OZ




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                                          89020
  Which is BS because Apple deprecated cookies on web long ago
  •       Updated on2022-02-02T22:52:24.5922
  Which is BS because Apple deprecated cookies on safari long ago
  •       tarunsingh@google.com 2022-02-02T22:53: 16.1712
  yea but they seem kinda salty about it
  •       tarunsingh@google.com 2022-02-02T22: 53 :25 .2312
  mark, dave, cheryl all mentioned google
  •       tarunsingh@google.com 2022-02-02T22:53:45.8382
  and were saying there's a conflict of interest b/c of G paying A for default search
  •       dyc@google.com 2022-02-02T22:53:46.6042
  Not to mention their ITP 2.0 changes
  •       tarunsingh@google.com 2022-02-02T22:53:46.9772
  etc
  •       tarunsingh@google.com 2022-02-02T22:55:50.6932
  here's cheryl saying apple is being regressive by hurting SMBs
  •       tarunsingh@google.com 2022-02-02T22:56:05 .4642
  they seem overly annoyed at apple
  •       dyc@google.com 2022-02-02T22:56: 14.3692
  I feel like they had the most to lose because (1) they don't have high intent search signals, and (2) they use data
  in more aggressive ways than Google
  •       tarunsingh@google.com 2022-02-02T22:56:25. 7342
  even though apple delineated exactly what they would do
  •       tarunsingh@google.com 2022-02-02T22:56:53 .2902
  they dont have control over an access point either
  •       tarunsingh@google.com 2022-02-02T22:56:55.1912
  ie no android
  •       tarunsingh@google.com 2022-02-02 T22: 57: 18. 809 2
  probably makes their modeling for ATT harder
  •       brownadam@google.com 2022-02-02T22:58:21.8302
  Yeah, not having a customer touch point like Android and Chrome is the big issue for Meta. We also got
  customers comfortable with conversion modelling a while ago
  •       meigs@google.com 2022-02-02T23:00:46.8312
  Wow, down 22% at the moment. It looks like the "metaverse" is costing a lot to build:
  https ://www.cnbc.com/2 022/02/02/meta-reality-labs-reports- l 0-billion-loss .html
  o               https://www.cnbc.com/2022/02/02/meta-realitv-labs-repmts-l 0-billion-loss.html
  •       craigma@google.com 2022-02-02T23 :03 :34.3452
  I ¥ our team all chatting like this! !
  •       craigma@google.com 2022-02-02T23 :04: 14.4292
  Also, suggest we tum off history since there is no business need for it Q unless anyone feel strongly against




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                                    89021




                             Exhibit 4W
              Custodian: Anthony Chavez; Marshall Vale
                Bates No.: GOOG-AT-MDL-007857170
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                                          89022
  Message


  From:          aschavez@google.com [aschavez@google.com]
  Sent:          6/10/2022 3:33:38 AM
  To:            aschavez@google.com; vinaygoel@google.com; wafflebits@google.com
  Subject:       AAAADORJqbQ-MBI-THREADED:TFsA6uSh-kk%%%2022-06-09T08:33:38.162975
  Attachments:   Screen Shot 2022-06-09 at 11.41.41 PM.png



  •         aschavez@google.com 2022-06-10T03:33:38.162Z
  separate topic - this chat room has history / is persisted?
  •         aschavez@google.com 2022-06-10T03:33:56.811Z
  can we configure it to be transient?
  •         vinaygoel@google.com 2022-06-1 0T03 :35 :52.438Z
  @Kevin Waclawicz @Chris Grzywacz - did one of you create this space? if so, do you have access to a settings
  panel?
  •         wafflebits@google.com 2022-06-10T03:35:59.433Z
  If it cannot, I will delete this space and start a new one which is. Will check into it later tonight and make
  appropriate changes.
  •         wafflebits@google.com 2022-06-1 0T03 :36:09 .592Z
  I created the space :)
  •         aschavez@google.com 2022-06-1 0T03 :36:27 .680Z
  thx Kevin
  •         vinaygoel@google.com 2022-06-10T03:38:38.0l 7Z
  so, i dont think we can
  •         vinaygoel@google.com 2022-06-10T03:38:41.641Z
  i think its set at the org level
  •         Updated on2022-06-10T03 :39:31.153Z
  i think its set at the admin level
  •         vinaygoel@google.com 2022-06-1 0T03 :39: 19 .589Z
  if its not doable, are folks okay with a group chat? the benefit? no history. The con? No threads.
  •         vinaygoel@google.com 2022-06-1 0T03 :40: 13 .091Z
  Kevin and I just tried testing it out. We can't within a Space
  •         aschavez@google.com 2022-06-1 0T03 :40:40.053Z
  that's a bummer
  •         vinaygoel@google.com 2022-06-10T03:42:02.303Z
  we're missing that 'history' setting on ours.
  o                Screen Shot 2022-06-09 at 11.41.41 PM. png
  •         aschavez@google.com 2022-06-1 0T03 :42:43 .0 l 6Z
  my sense is we deal with a group chat? though I am in some spaces that have no history (though maybe not
  multi threading)
  •         vinaygoel@google.com 2022-06-1 0T03 :43 :26.896Z




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                                          89023
  ifwe remove threads here, then we can turn history off
  •      aschavez@google.com 2022-06-1 0T03 :43 :34.8 l 9Z
  ahok
  •      vinaygoel@google.com 2022-06-1 0T03 :43 :40.087Z
  so, basically, threads is what prevents history from being turned off
  •       vinaygoel@google.com 2022-06-1 0T03 :43 :42. 972Z
  not chat vs space
  •      aschavez@google.com 2022-06-1 0T03:44:01.330Z
  good to know:) i have been confused about the diff for a while ...
  •      vinaygoel@google.com 2022-06-1 0T03 :44: 10.521Z
  Y ah, tbh, me too!
  •      vinaygoel@google.com 2022-06-1 0T03 :44: l 8.223Z
  okay, let me create a new one right now. It'll still be a space.
  •      aschavez@google.com 2022-06-1 0T03 :44:24.242Z
  cool-ty




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                                    89024




                              Exhibit 4X
                        Custodian: Amin Charaniya
                Bates No.: GOOG-AT-MDL-007610074
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                                          89025
  Message


  From:           hsnair@google.com [hsnair@google.com]
  Sent:           9/23/2022 1:16:02 AM
  To:             acharaniya@google.com; hsnair@google.com
  Subject:        _h9U PwAAAAE-MBI-FlAT:2022-09-22T06: 16 :02.149951



  •          hsnair@google.com 2022-09-23 TO 1: l 6:02. l 49Z
  Hi
  •          acharaniya@google.com 2022-09-23 TO l: l 6:26.465Z
  hey harikesh
  •          hsnair@google.com 2022-09-23 TO l: 16:29 .577Z
  On the 2 pager on pcm for Google research
  •          hsnair@googie.com 2022-09-23T01: l 7:08.501Z
  I'm almost done on big picture priorities, and open gaps. Do you want to take a quick look before we open it
  open to research folks?
  •          hsnair@google.com 2022-09-23 TO 1: 17: 10.044Z
  https://docs.google.com/document/d/lpDQPZRpk2-
  9MWujv0C08b3bHDhjPqGJedUfwzS _ IJhA/ edit?usp=sharing&resourcekey=0-3 74xiMlfpfeP 1BXubal LCw
  0                 https://drive.google.corn/open?id=1pDOPZRpk2-9MWujv0C08b3bHDhjPgGJedUfwzS IJhA
  o         https://docs.google.com/document/d/lpDQPZRpk2-
  9MWujv0C08b3bHDhiPgGJedUfwzS IJhA/edit?usp=sharing&resourcekey=0-374xiMifofeP1 BXubalLCw
  •          hsnair@google.com 2022-09-23 TO l: 17 :25 .497Z
  Section 2 is still not done - Tong/Xiliang/Matt will finish up
  •          acharaniya@googie.com 2022-09-23T01 :21 :55.876Z
  i think you've captured all the main pieces. added a suggestion on panels
  •          acharaniya@google.com 2022-09-23 TO l :22: 15 .6 l 5Z
  i'm assuming we aren't committing any resources from our side as part of this exercise, correct?
  •          hsnair@google.com 2022-09-23 TO 1:22:33. l 39Z
  great
  •          hsnair@google.com 2022-09-23 TO 1:22:52.885Z
  no .. .just putting out the main issues out there for them to have some visibility
  •          acharaniya@google.com 2022-09-23 TO 1:23 :07 .3 l 3Z
  sg. thx for doing this!
  •          hsnair@googie.com 2022-09-23 TO l :23: 10.209Z
  we are slammed - have enough to do between now and 2023 !!
  •          acharaniya@googie.com 2022-09-23 TO l :23 :26. l 98Z
  Q
  •          acharaniya@google.com 2022-09-23 TO 1:23 :3 8. 046Z
  privacy= job security




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                                          89026
  •       hsnair@google.com 2022-09-23 TO l :23 :46. l 33Z
  haha
  •       acharaniya@google.com 2022-09-23 TO l :23 :5 8 .40 l Z
  btw didnt realize history is on for us
  •       acharaniya@google.com 2022-09-23 TO 1:24:02. 913Z
  mind if i turn it off?
  •       hsnair@google.com 2022-09-23 TO 1:24: l 0.549Z
  sure




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                 Chats Discussing
                 Turning History
                       Off
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                                    89028




                              Exhibit 4Y
                         Custodian: Nitish Korula
                           Witness: Nitish Korula
               Bates No.: GOOG-AT-MDL-B-004482121
                        Trial Exhibit No.: PTX0959
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                                          89029
  Message

  From:           Nitish Korula [nitish@google.com]
  Sent:           4/16/2020 9:43:11 PM
  To:             Abhita Chugh [abhita@google.com]



  •         Nitish Korula, 2020-04-16 14: 43: 11
  Have we really not had history on for these chats?
  •         NitishKorula,2020-04-16 14:43:30

  I&#39;m on lit hold, and am supposed to keep this on
  •         NitishKorula,2020-04-16 14:43:57

  (I guess it&#39;s not bad because it was a personal conversation)
  •         AbhitaChugh,2020-04-16 14:44:14

  I might have turned it off. I have been accidentally turning history on and off in the new hangouts
  •         NitishKorula,2020-04-16 14:44:22

  To be fair, this new UI makes it hard to tell when history is on or off
  •         Nitish Korula, 2 o2 o- o4 -1 6 14 : 4 4 : 2 6
  Anyway, don&#39;t change the subject
  •         NitishKorula,2020-04-16 14:44:30

  (Yes, yes, I know I did)
  •         NitishKorula,2020-04-16 14:44:34

  You should take a Friday off
  •         AbhitaChugh,2020-04-16 14:45:43

  Yeah. I don&#39;t know what I would do with a day off right now. Haha
  •         AbhitaChugh,2020-04-16 14:46:10

  Keeping that as an option on days when nanny does not show up
  •         AbhitaChugh,2020-04-16 14:46:25

  Coz she always cancels on me after midnight
  •         NitishKorula,2020-04-16 14:54:10

  Did she come in today?
  •         AbhitaChugh,2020-04-16 14:54:35

  Yes
  •         NitishKorula,2020-04-16 15:08:52

  Small blessings Q




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                              Exhibit 4Z
                          Custodian: Woojin Kim
                           Witness: Woojin Kim
                Bates No.: GOOG-AT-MDL-012301665
                       Trial Exhibit No.: PTX1108
    Case 1:23-cv-00108-LMB-JFA Document 1203-6 Filed 08/23/24 Page 83 of 150 PageID#
                                        89031
  Message


  From:          stassa@google.com [stassa@google.com]
  Sent:          2/9/2023 8:02:48 PM
  To:            stassa@google.com; woojink@google.com; mmmartin@google.com; amjadh@google.com; coestlien@google.com;
                 adamsmith@google.com
  Subject:       AAAA-tEzwF0-M Bl-FLAT:2023-02-09T01: 10:36. 295 759
  Attachments:   image.png; image.png



  stassa@google.com February 9, 2023 at 8:02:48 PM UTC
  Updated room membership.



  woojink@google.com February 9, 2023 at 8:10:36 PM UTC
  With history on



  woojink@google.com February 9, 2023 at 8:17:04 PM UTC
  I wish we had nice sandwiches in 901



  woojink@google.com February 9, 2023 at 8:17:10 PM UTC
  Like Crittenden



  mmmartin@google.com February 9, 2023 at 8:20:13 PM UTC
  I expected witty banter; I did not expect history on. That's tightrope.



  amjadh@google.com February 9, 2023 at 8:20:17 PM UTC
  Crit also has that reservation only indian place



  woojink@google.com February 9, 2023 at 8:20:59 PM UTC
  History on is a new thing



  mmmartin@google.com February 9, 2023 at 8:23:10 PM UTC
  Did you folks do something *very* wrong, and if so, can you document it in the chat for posterity?



  coestlien@google.com February 9, 2023 at 8:32:09 PM UTC
  history on?



  woojink@google.com February 9, 2023 at 8:32:39 PM UTC
  That's how we roll now




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                                        89032
  coestlien@google.com February 9, 2023 at 8:32:45 PM UTC
  bruh



  coestlien@google.com February 9, 2023 at 8:33:26 PM UTC
  who is trying to get us in trouble?



  woojink@google.com February 9, 2023 at 8:33:32 PM UTC
  Good luck trying to turn it off



  coestlien@google.com February 9, 2023 at 8:33:40 PM UTC
  I tried



  coestlien@google.com February 9, 2023 at 8:33:59 PM UTC
  That's ok, we have our signal chat that Neal doesn't know about



  woojink@google.com February 9, 2023 at 8:34:02 PM UTC
  I think bard wants to train on our banter



  coestlien@google.com February 9, 2023 at 8:35:06 PM UTC
  the capital of Paris is Stasbourg



  coestlien@google.com February 9, 2023 at 8:35:14 PM UTC
  Strasbourg



  woojink@google.com February 9, 2023 at 8:35:29 PM UTC
  It already has that covered



  amjadh@google.com February 9, 2023 at 8:52:18 PM UTC
  Does anyone know who the presenter was in Paris that forgot the demo phone ?



  stassa@google.com February 9, 2023 at 8:52:26 PM UTC
  huh, can't seem to turn off history



  woojink@google.com February 9, 2023 at 8:55:04 PM UTC
  Liz



  coestlien@google.com February 9, 2023 at 8:55:45 PM UTC




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                                        89033
  what did she do when she realized that?



  woojink@google.com February 9, 2023 at 8:56:45 PM UTC
  just moved on



  coestlien@google.com February 9, 2023 at 8:57:01 PM UTC
  reminds me of when I tried to demo voice commands via Nest Mini/Assistant at the YTV launch, and Assistant was down



  woojink@google.com February 9, 2023 at 9:14:05 PM UTC
  MidJourney's rendition of Neal Mohan:



  woojink@google.com February 9, 2023 at 9:14:08 PM UTC
  1mage.png


  woojink@google.com February 9, 2023 at 9:15:38 PM UTC
  david katz:



  woojink@google.com February 9, 2023 at 9:15:42 PM UTC
  1mage.png


  adamsmith@google.com February 10, 2023 at 7:44:48 PM UTC
  Figured out the Chat History. ON issue: One(s) of you must be on a litigation hold
  https ://buganizer. corp.google. com/issues/26 854 26 70#comment4 m
  https://buganizer.corp. google. com/issues/2685426 70#comment4


  adamsmith@google.com February 10, 2023 at 7:45:13 PM UTC
  Neal is now History ON all the time.



  woojink@google.com February 10, 2023 at 8:47: 11 PM UTC
  I am on lit hold



  woojink@google.com February 10, 2023 at 8:47:15 PM UTC
  Sorry



  coestlien@google.com February 10, 2023 at 8:51:21 PM UTC
  I've been on litigatation hold since 2006 :-)




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                                        89034
  coestlien@google.com February 10, 2023 at 8:51 :31 PM UTC
  Litigation



  woojink@google.com February 10, 2023 at 8:54:35 PM UTC
  New type of lit hold these dys



  coestlien@google.com February 10, 2023 at 8:57:54 PM UTC
  Y, chat is new



  coestlien@google.com February 10, 2023 at 8:58: 16 PM UTC
  Guess we can only be funny in person from now on



  adamsmith@google.com February 10, 2023 at 9:06:50 PM UTC
  I guess we'll need to set up an unmonitored version of this chat for those of us that aren't under investigation to keep the
  funnies rolling □



  amjadh@google.com February 10, 2023 at 9:10:20 PM UTC
  We'll tell you lit hold folks know what is going on when we meet up in person



  Updated on February 10, 2023 at 9: 10:34 PM UTC
  We'll let you lit hold folks know what is going on when we meet up in person



  coestlien@google.com February 10, 2023 at 9: 12:02 PM UTC
  It's too late. Our feedback made it to the press.



  coestlien@google.com February 10, 2023 at 9: 12:07 PM UTC
  https ://www. en b c. com/20 23 /02/ 10/goo gle -employees-slam -ceo-sundar-pi chai-for-rushed-bard-announcement.html
  https ://www .cnbc.com/2023/02/l 0/ google-empl oyees-slam-ceo-sundar-pichai-for-rushed-bard-
  announcement.htm l




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                                    89035




                            Exhibit 4AA
                         Custodian: Aparna Pappu
                          Witness: Aparna Pappu
                Bates No.: GOOG-AT-MDL-007385867
                       Trial Exhibit No.: PTX1819
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                                        89036
  Message


  From:          chaitali@google.com [chaitali@google.com]
  Sent:          2/9/2023 3:30:59 PM
  To:            chaitali@google.com; apappu@google.com
  Subject:       mYbHBwAAAAE-MBI-FlAT:2023-02-08T20:30:59.990879



  chaitali@google.com February 9, 2023 at 3:30:59 PM UTC
  Sigh 1: 1 chat also becomes history on when I message! How are you supposed to get any work done?!



  apappu@google.com February 9, 2023 at 3:47:05 PM UTC
  You can turn it off unless lithold kicks in



  chaitali@google.com February 9, 2023 at 3:47:29 PM UTC
  Tried. Cannot Q



  apappu@google.com February 9, 2023 at 3:47:35 PM UTC
  weird



  chaitali@google.com February 9, 2023 at 3:47:58 PM UTC
  I say sell it as a premium feature in WS @



  apappu@google.com February 9, 2023 at 3:50:49 PM UTC
  Hah



  apappu@google.com February 9, 2023 at 3:50:54 PM UTC
  Can you file a bug though



  apappu@google.com February 9, 2023 at 3:51 :03 PM UTC
  Unless you are on lit hold it should allow you to turn off



  chaitali@google.com February 9, 2023 at 3:51 :08 PM UTC
  Will do



  chaitali@google.com February 9, 2023 at 3:52:32 PM UTC
  Isn't it WAI if one of the people in the conversation is on the lithold? Even if I'm not you are so this convo should
  be history on? I'm curious now. Will file a big and follow up



  apappu@google.com February 9, 2023 at 3:52:53 PM UTC




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                                        89037
  yes if anyone one person is then yes



  apappu@google.com February 9, 2023 at 3:53:01 PM UTC
  i thought you were saying all the ones with you and other people are also always on



  chaitali@google.com February 9, 2023 at 3:53:18 PM UTC
  Oh no no



  chaitali@google.com February 9, 2023 at 3:53:57 PM UTC
  I wanted to see if 1:1 chats also get subject to this. Looks like they do. We build robust products!



  apappu@google.com February 9, 2023 at 4:09:39 PM UTC
  yes all chats not just group



  apappu@google.com February 9, 2023 at 4:09:46 PM UTC
  otherwise it doesnt make sense




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                                    89038




                            Exhibit 4BB
                       Custodian: Deepti Bhatnagar
                Bates No.: GOOG-AT-MDL-008017534
                       Trial Exhibit No.: PTX1105
    Case 1:23-cv-00108-LMB-JFA Document 1203-6 Filed 08/23/24 Page 91 of 150 PageID#
                                        89039
  Message


  From:          apappu@google.com [apappu@google.com]
  Sent:          2/9/2023 3:26:17 PM
  To:            apappu@google.com; ahogue@google.com; mariafg@google.com; abhita@google.com; pbrittan@google.com;
                 sergel@google.com; jdanz@google.com; ameeshp@google.com; jmckinley@google.com; antin@google.com;
                 ilyabr@google.com; madrake@google.com; tommi@google.com; ekevers@google.com; bryanv@google.com;
                 mduffy@google.com; anniechen@google.com; vikki@google.com; richf@google.com; awiesen@google.com;
                 baxterjeff@google.com; anuragag@google.com; mariannaw@google.com; rachelroca@google.com;
                 rshapov@google.com; jaisunda@google.com; dianenarouz@google.com; do-not-reply-
                 bot@system.gserviceaccount.com
  Subject:       AAAAWyF-lml-MBI-FLAT:2023-02-08T20:26:17 .291023
  Attachments:   Screenshot 2023-02-09 1.47.12 PM.png; _inverseduck_.dat



  apappu@google.com February 9, 2023 at 3:26:17 PM UTC
  And I apologize folks but due to changes in legal requirements and a lithold I am on (perhaps many others) all chats with me
  become history on! Changes rolled out yesterday in Google.



  3 RepJies
  ahogue@google.com February 9, 2023 at 3:28:55 PM UTC
  you know how happy this is making me, Apama •



  apappu@google.com February 9, 2023 at 3:29:57 PM UTC
  Ohl know



  mariafg@google.com February 9, 2023 at 3:52:32 PM UTC
  Yessssssss



  apappu@google.com February 9, 2023 at 4:06:11 PM UTC
  (Long Post Warning) OK so in advance of our group chat on yesterday's announcement here's what I think: 1. Competition is
  great, its great for us, it's great for users, it's great for everyone. 2. One gaffe does not take away from over 2 decades of
  some of the most profound breakthroughs in ranking, relevance, ML, Al and software and product design. I think we have an
  inverse duck problem - we see the furious paddling of the duck but there are deep waters where a lot of continued great
  work, care over quality etc etc continues. The press creates this frenzy and we should avoid feeding into it. And focus on
  what we can do - build amazing products that users love. Think for a second if this was us - how would we want our
  colleagues to respond? The same with the stock market - it's daily fluctuations are not reflective of true value. 3. Details
  however do matter -for e.g. when we send important MSAs I review them because how we present our selves to the world
  sometimes has far greater consequences than we can imagine and allows me to be responsible for any fall out. 4. Speaking of
  how we communicate - you are all officers of the company - what you say matters (in public I mean), you represent Google
  and carry its reputation forward. So in that light for LLMs, AI in general it's important we educate ourselves, we avoid
  speculation in public, in our teams we can be more candid - that's what's great about our culture. But candid and being
  doomsday are two different things. 5. Finally LLMs have the power to bring great fun, utility and service to all our products.
  I am super proud of the work we're doing and the care going into it. We are trying to land two very real features one in Docs
  and one in GMail in March but that's just the beginning, there is so much more we can do and our OKRs reflect that. If you
  want to help ask your area lead how you can contribute . In short I remain incredibly optimistic and am confident we have
  the right team to deliver on our ambitious promises.




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                                        89040
  4 Replies
  abhita@google.com February 9, 2023 at 4: 10:01 PM UTC
  Completely agree - I do think Google is best positioned to do well in this area. And we have enough smart people putting
  their brains to it - there's no reason we shouldn't be able to. Press tends to overreact & it just reiterates for us that the quality
  bar is higher for Google.



  pbrittan@google.com February 9, 2023 at 4:11 :06 PM UTC
  Yes, and we do prob need to get a little smarter about how we position ourselves in the AI/ML context.



  mariafg@google.com February 9, 2023 at 4:23:10 PM UTC
  In a way, and I know it is weird for the market share we have in search, but this has positioned us as the underdog in this
  race. We have all the tech, all the people, and all of the distribution to get back to the top. Let's do this!



  apappu@google.com February 9, 2023 at 10:55:37 PM UTC
  And the inverse in Workspace we are the underdog relative to MS so let's go out swinging - we have nothing to lose so we
  can afford to take risks in the Enterprise.



  sergel@google.com February 9, 2023 at 4:11:16 PM UTC
  Hopefully others will recognize themselves in this (I am too sensitive, I know) ... but the events of the past 2-3 weeks sure
  makes everything feel so much more intense.



  apappu@google.com February 9, 2023 at 4:21 :05 PM UTC
  Happy to discuss more at our next monthly Director Sync



  jdanz@google.com February 9, 2023 at 4:25:25 PM UTC
  Apama, tell the truth, was that long post generated by Bard?



  1 Reply
  ahogue@google.com February 9, 2023 at 5:16:58 PM UTC
  No, it was authentic. The tell was "inverse duck problem"



  apappu@google.com February 9, 2023 at 8:58:53 PM UTC
  In another PSA - comp season is on. Anurag, Johanna, Steve and I will share a proposal with you all. I do not want you all
  doing your "own thing" for comp please stay tuned.



  apappu@google.com February 9, 2023 at 9:08:27 PM UTC
  Esp y'all in Eng - I know you all too well.



  ameeshp@google.com February 9, 2023 at 9: 15:42 PM UTC




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                                    89041




                            Exhibit 4CC
        Custodian: David Mitby; Tobias Maurer; Woojin Kim
                           Witness: Woojin Kim
                Bates No.: GOOG-AT-MDL-012301658
                       Trial Exhibit No.: PTX1107
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                                           89042
  Message


  From:          woojink@google.com [woojink@google.com]
  Sent:          2/9/2023 6:40:42 PM
  To:            woojink@google.com; dym@google.com; tmaurer@google.com; dmitby@google.com; triswarkentin@google.com
  Subject:       AAAA2-m DPOM-M Bl-FLAT:2023-02-08123 :40:42. 326639
  Attachments:   image.png; image.png



  woojink@google.com February 9, 2023 at 6:40:42 PM UTC
  do all your gchats now have history=ON?



  dym@google.com February 9, 2023 at 6:41:25 PM UTC
  no



  woojink@google.com February 9, 2023 at 6:41:35 PM UTC
  but this chat room is now



  dym@google.com February 9, 2023 at 6:41:38 PM UTC
  but I'm surprised about the switch in this room



  tmaurer@google.com February 9, 2023 at 6:42:03 PM UTC
  yeah mine is also always on



  tmaurer@google.com February 9, 2023 at 6:42:05 PM UTC
  odd;)



  woojink@google.com February 9, 2023 at 6:42:17 PM UTC
  odd;)



  woojink@google.com February 9, 2023 at 6:42:36 PM UTC
  i feel like i can't even joke around any more



  woojink@google.com February 9, 2023 at 6:42:41 PM UTC
  on non work topics



  tmaurer@google.com February 9, 2023 at 6:43:43 PM UTC
  when are we meeting again? did you guys plan for something?



  dmitby@google.com February 9, 2023 at 6:45:47 PM UTC




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                                        89043
  sorry i think that's due to me; maybe kick me out and see if that fixes it? there was a change to legal hold rules i guess (at
  least for something i'm on). for non work feel free to ping me dmitby@gmail.com (also on Signal and such)



  woojink@google.com February 9, 2023 at 6:46:42 PM UTC
  Me too though



  woojink@google.com February 9, 2023 at 6:46:49 PM UTC
  I bet to bias



  triswarkentin@google.com February 9, 2023 at 6:49:12 PM UTC
  we had it on before but someone turned it off



  triswarkentin@google.com February 9, 2023 at 6:49:30 PM UTC
  also, stock continues to plunge



  tmaurer@google.com February 9, 2023 at 6:49:46 PM UTC
  Can't talk about it



  triswarkentin@google.com February 9, 2023 at 6:49:49 PM UTC
  Ben Thompson of Stratechery captured my feelings almost entirely about the pragh event yesterday



  triswarkentin@google.com February 9, 2023 at 6:49:51 PM UTC
  1mage.png


  woojink@google.com February 9, 2023 at 6:52:18 PM UTC
  Yeah



  woojink@google.com February 9, 2023 at 6:52:36 PM UTC
  Not a confidence inspiring preso



  woojink@google.com February 9, 2023 at 6:52:40 PM UTC
  Why was it in Paris?



  woojink@google.com February 9, 2023 at 6:52:45 PM UTC
  Where was Sundar?



  triswarkentin@google.com February 9, 2023 at 6:59:40 PM UTC




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                                        89044
  it was a preplanned event for Google Arts and Culture anniversary



  triswarkentin@google.com February 9, 2023 at 6:59:55 PM UTC
  Pragh decided it should be pivoted to be about AI about a ~month ago



  triswarkentin@google.com February 9, 2023 at 7:00:00 PM UTC
  but then they were going to NOT do that



  triswarkentin@google.com February 9, 2023 at 7:00:06 PM UTC
  so I'm not sure how it got switched back



  triswarkentin@google.com February 9, 2023 at 7:00:34 PM UTC
  Pragh wants to be the AI Lead for Google -- hence fighting to get search response fully separated from RMI even though
  their models don't perfom1



  triswarkentin@google.com February 9, 2023 at 7:00:40 PM UTC
  and Sissie owning Bard



  triswarkentin@google.com February 9, 2023 at 7:01 :01 PM UTC
  say what you will about Clay



  triswarkentin@google.com February 9, 2023 at 7:01:11 PM UTC
  but if Clay had organized a presentation about the future of AI for a Paris event



  triswarkentin@google.com February 9, 2023 at 7:01:15 PM UTC
  I bet our stock woulda gone up =)



  dym@google.com February 9, 2023 at 7:04:00 PM UTC
  Well if Pragh wants to be AI lead for Google, he's not exactly going about it the right way



  woojink@google.com February 9, 2023 at 7:05:28 PM UTC
  Clay would've done a great job at the announcement



  dym@google.com February 9, 2023 at 7: 14: 17 PM UTC
  interesting that I can't tum off history here




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                                        89045
  dym@google.com February 9, 2023 at 7: 14:45 PM UTC
  1mage.png


  tmaurer@google.com February 10, 2023 at 6:02:01 AM UTC
  Very strange.



  woojink@google.com February 10, 2023 at 6:44:31 AM UTC
  It's new lit hold



  woojink@google.com February 10, 2023 at 6:44:33 AM UTC
  Sorry



  dmitby@google.com February I 0, 2023 at 4:59:25 PM UTC
  (i'm in the same boat FWIW, as are many others)



  tmaurer@google.com February 10, 2023 at 8:08:30 PM UTC
  same



  dmitby@google.com February 10, 2023 at 8:37:01 PM UTC
  what are your phone #'s



  tmaurer@google.com February 10, 2023 at 8:38:16 PM UTC
  3477121297


  dym@google.com February 10, 2023 at 8:40:54 PM UTC
  9173311533


  woojink@google.com February 10, 2023 at 8:47:33 PM UTC
  6508681456


  woojink@google.com February 10, 2023 at 8:47:39 PM UTC
  Are we planning a get together!?



  woojink@google.com February 10, 2023 at 8:47:48 PM UTC
  Just stopped by my ne house



  woojink@google.com February 10, 2023 at 8:47:53 PM UTC




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                                           89046
  It'll be ready soon to welcome yall



  tmaurer@google.com February 10, 2023 at 8:49:37 PM UTC
  Our expectations are exoplanetary high at this point.



  woojink@google.com February 10, 2023 at 8:55:28 PM UTC
  Ah yes



  woojink@google.com February 10, 2023 at 8:55:35 PM UTC
  I'll make sure to get the jwst ready



  tmaurer@google.com February 10, 2023 at 8:56:15 PM UTC
  ;)



  triswarkentin@google.com February 10, 2023 at 9:29:48 PM UTC
  9782575386



  triswarkentin@google.com February 10, 2023 at 9:31:37 PM UTC
  yeah dude, we gotta get together asap



  triswarkentin@google.com February 10, 2023 at 9:31 :42 PM UTC
  I'm at the end of my rope over here =)



  triswarkentin@google.com February 10, 2023 at 9:34:03 PM UTC
  just made us a whatsapp group



  triswarkentin@google.com February l 0, 2023 at 9:34:04 PM UTC
  https://chat.whatsapp.com/GTwtwr5LwOK9wHgf9WmuB3
  https://chat.whatsapp.com/GTwtwr5LwOK9wHgf9WmuB3


  tmaurer@google.com February 10, 2023 at 10:40:30 PM UTC
  Do you guys know Threema?



  tmaurer@google.com February 10, 2023 at 10:41:06 PM UTC
  Per is stopping by for a drink around 5 at my house ;)



  triswarkentin@google.com February 10, 2023 at 11:38:30 PM UTC




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                                        89047
  never heard of threema



  triswarkentin@google.com February l 0, 2023 at 11 :38:33 PM UTC
  chat app?



  triswarkentin@google.com February 10, 2023 at 11:38:42 PM UTC
  we need multiplayer bard amirite



  tmaurer@google.com February 10, 2023 at 11 :50: 15 PM UTC
  My most paranoid friends in Gennany use it for texting.



  tmaurer@google.com February 10, 2023 at 11 :50:58 PM UTC
  Have a great weekend y'all. I'm one grad convo with my VP away from it.



  dmitby@google.com February 10, 2023 at 11:53:23 PM UTC
  you didn't already do your grad convo?



  triswarkentin@google.com February 11, 2023 at 12:01:01 AM UTC
  mitby you're the only one missing from our whatsapp now



  triswarkentin@google.com February 11, 2023 at 12:01:02 AM UTC
  https://chat. whatsapp.com/GTwtwr5LwOK9wHgf9WmuB3
  https://chat. whatsapp.com/GTwtwr5LwOK9wH gf9WmuB3




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                                     89048




                             Exhibit 4DD
                Custodian: Aparna Pappu; Sagnik Nandy
                          Witness: Aparna Pappu
                Bates No.: GOOG-AT-MDL-018279549
                        Trial Exhibit No.: PTX0851
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                                           89049
  Message


  From:           apappu@google.com [apappu@google.com]
  Sent:           9/16/2019 2:41:42 PM
  To:             apappu@google.com; bahman@google.com; sagnik@google.com
  Subject:        AAAACIPEHao-4P--NjxXoek



  •          apappu@google.com 2019-09-16Tl4:41:42.247Z
  So ABCs it turns out vegas is not vegas. Chat in it's infinite wisdom does _ not_ have a history off option for
  rooms. That's right. Everything kept forever or until garbage collected which I think for rooms with no activity
  is 28 days? Nope I lied, it's forever
  •          apappu@google.com 2019-09-16T14:42:28.605Z
  We need to go thru a convoluted set of steps to make a history off group chat in old classic hangouts and then
  use that here - that's the only way
  •          apappu@google.com 2019-09-16Tl4:42:33.250Z
  Chris want to do the honours?
  •          bahman@google.com 2019-09-30Tl6:49:15.189Z
  Promo related reviews done. Whoo. Whoo?
  •          bahman@google.com 2019-09-30Tl6:50:40.741Z
  3/14 peers are YT-side. 1/12 promo related peers are YT-side.
  •          bahman@google.com 20 l 9-09-30T 16:50:49 .564Z
  It will be weird if that holds up another cycle.
  •          sagnik@google.com 2019-09-30Tl 7:08:59.562Z
  33/35 done. One strange one got added last night. Otherwise would be just one left
  •          bahman@google.com 20 l 9-09-30T 17 :25: IO. l 82Z
  I got 7 lengthy emails last week from an individual I have not worked with in 6 months. "New information to
  add to your peer review".
  •          bahman@google.com 2019-09-30Tl 7:25:12.006Z
  No.
  •          sagnik@google.com 20 l 9-09-30T20:41: l 2.968Z
  l left - but bought some breathing room for it till tomorrow




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                                     89050




                             Exhibit 4EE
                          Custodian: Marshall Vale
                 Bates No.: GOOG-AT-MDL-011213261
                        Trial Exhibit No.: PTX0908
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                                           89051
  Message


  From:           Nitish Korula [nitish@google.com]
  Sent:            1/14/2020 4:10:30 PM
  To:             Justin Schuh [jschuh@google.com]; Michael Kleber [kleber@google.com]; Marshall Vale [mjv@google.com]; Brad
                  Lassey [lassey@google.com]; Chetna Bindra [cbindra@google.com]; Deepak Ravichandran [deepakr@google.com]



  •         Nitish Korula, 2020-01-14         08: 10: 30

  FYI, I thought you&#39;d all be interested that the AdExchanger website doesn&#39;t seem to be able to keep
  up after the article went live
  •         Nitish Korula, 2020-01-14         08: 10: 51

  https://chat.google.com/api/get_hangouts_attachment_url?url_type=FIFE_URL&attachment_token=AOe9lx3G
  I-kjNiRQyR6QBBbrtukrUcPy3vWR9-77FY2vOMqcZNPk4_K_lrSfVBWONqzjw8NvLBh9CN2TuIZ-
  rC jIEIQaQ_2rqkZ2-
  GWtK76XMGc7PtJYlK85F5KtquA0OD9IrK5rAWwN7HoIQQETcA26CRO lBOpZ_ ODeOSgo313Gf81MEU
  TCykXdET9-P5t06t_OeeRc-Go 1dy33Xs-335C9WR_ apFH0wOIT3bA4Y2MfRkZ3d33VXHNj300xRTTwTE
  •         Nitish Korula, 2020-01-14         08: 11: 06

  It&#39;s now up again, but slow/ sporadic
  •         Deepak Ravichandran, 2 02 o-o 1-14 o 8: 27: 4 9
  Haha
  •         Michael Kleber, 2020-01-14          08:28:50

  Whaaa? &quot;The idea bears some similarity to Ads Data Hub (ADH), a Google spokesperson said. Since
  Google closed off access to DoubleClick IDs, the only way to analyze user-level information in campaigns is
  through Google's privacy-focused ADH cloud. And the data can't be exported.&quot;
  •         MichaelKleber,2020-01-14 08:29:10

  Ugh, I don&#39;t think this bears much resemblance to ADH at all
  •         Chetna Bindra, 2 o 2 o - o 1-14 o 8 : 2 9 : 2 8
  She is literally the stupidest reporter on the block ....
  •         Chetna Bindra, 2 o 2 o - o 1-14 o 8 : 2 9 : 3 3
  Always has been
  •         Michael Kleber, 2020-01-14          08:29:53



  •         MichaelKleber,2020-01-14 08:30:53

  Ah well, everything else seems pretty good
  •         Nitish Korula, 2020-01-14         08: 31: 05

  &lt;Refraining from comments because I&#39;m lit hold, but happy to rant in person&gt; 0
  •         Michael Kleber, 2020-01-14          08:31:07

  I like the Digiday piece
  •         Michael Kleber, 2020-01-14          08:31:07

  <a href="https://www.google.com/url?q=https://digiday.com/media/google-plans-kill-off-third-party-cookies-
  chrome-within-2-
  years/&amp;sa=D&amp;source=hangouts&amp;ust=l 57910586834 7000&amp;usg=AFQjCNH5Ile 1qwn61 GX




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                                           89052
  QyY 5ej 1-JOnqKsQ ">https://digiday. com/media/google-plans-kill-off-third-party-cookies-chrome-within-2-
  years/</a>
  •       Chetna Bindra, 2 o2 o- o1-14 o8 : 31 : 2 8
  Let&#39;s do a ping thread with history off and without Nitish ...
  •       Nitish Korula, 2020-01-14 08: 31: 36
  Yeah, you all totally should
  •       Nitish Korula, 2020-01-14 08: 31: 45
  (Though I think Brad and Michael are as well ;)
  •       Michael Kleber, 2020-01-14 08:32:33
  Hah. I&#39;m on lithold too, folks
  •       Brad Lassey, 2020-01-14 08: 33: 41
  I am not on lit hold
  •       Brad Lassey, 2020-01-14 08: 33: 45
  kind of amazingly
  •       Michael Kleber, 2020-01-14 08:35:44
  Ugh yeah AdExchanger gets even worse. &quot;For instance, an ad tech provider might call Chrome for a list
  of people who have visited a group of l 00 sites, avoiding granular targeting. Or, Chrome might group people
  with similar browsing habits.&quot; Ugh no, not at all
  •       Brad Lassey, 2020-01-14 08: 58: 22
  they sent those for fact checking and we corrected them (I thought). Disappointing that they didn&#39;t take
  those corrections
  •       Chetna Bindra, 2 o2 o- o1-14 o9: o1 : 4 4
  We did correct
  •       Chetna Bindra, 2 o2 o- o1-14 o9 : o1 : 5 7
  She still wrote nonsense
  •       Chetna Bindra, 2 02 o-o 1-14 o9: 02: 07
  We sent it last night well before her deadline
  •       Michael Kleber, 2020-01-14 09:05:50
  ah well, so it goes
  •       DeepakRavichandran, 2020-01-14 09:19:07
   &quot;For instance, an ad tech provider might call Chrome for a list of people who have visited a group of 100
  sites, avoiding granular targeting. Or, Chrome might group people with similar browsing habits.&quot; - this is
  ok - right?
  •       Deepak Ravichandran, 2 02 o-o 1-14 o9: 19: 15
  the right spirit
  •       DeepakRavichandran, 2020-01-14 09:19:22
  since these are not decided.
  •       Michael Kleber, 2020-01-14 09:21:36
  The &quot;group people with similar browsing habits&quot; part is right. But &quot;call Chrome for a list of
  people who have visited a group of 100 sites&quot;? No, there are no lists of people




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                                           89053
  •        DeepakRavichandran, 2020-01-14 09:24:34
  0
  •        Deepak Ravichandran, 2 02 o-o 1-14 o9: 24: 5 6
  not people - but groups of people.
  •        Deepak Ravichandran, 2 02 o-o 1-14 o9: 25: 14
  or a cohoty
  •        Deepak Ravichandran, 2 02 o-o 1-14 o9: 25: 16
  anyway
  •        DeepakRavichandran, 2020-01-14 09:25:22
  now is the real deal
  •        Chetna Bindra, 2020-01-14 09:25:27
  Folks - this thread has history on
  •        Deepak Ravichandran, 2 02 o-o 1-14 o9: 25: 30
  we better get our act together
  •        Chetna Bindra, 2020-01-14 09: 25: 33
  Please be cautious
  •        Chetna Bindra, 2 o2 o- o1-14 o9 : 2 5 : 3 6
  Agreed
  •        DeepakRavichandran, 2020-01-14 09:25:49
  ok
  •        Chetna Bindra, 2 02 o-o 1-14 o9: 25: 54
  Monthly milestones are going to be critical




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                                     89054




              Chats Recognizing
                That Turning
              History Off Is To
               Evade Discovery
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                                     89055




                             Exhibit 4FF
                           Custodian: Dan Taylor
                            Witness: Dan Taylor
                Bates No.: GOOG-AT-MDL-009480562
                        Trial Exhibit No.: PTX1801
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                                        89056
  Message


  From:           suzblackburn@google.com [suzblackburn@google.com]
  Sent:           2/24/2023 9:01:22 PM
  To:             suzblackburn@google.com; dantaylor@google.com; vlucile@google.com
  Subject:        AAAALXeKZc0-M BI-FLAT:2023-02-24T02 :01 :30. 71563 7
  Attachments:    image.png



  suzblackburn@google.com February 24, 2023 at 9:01:22 PM UTC
  Updated room membership.



  suzblackburn@google.com February 24, 2023 at 9:01 :30 PM UTC
  hi both



  suzblackburn@google.com February 24, 2023 at 9:02:11 PM UTC
  we have some incoming from the NYT - they are writing a story about how chatbots are going to disrupt the internet
  economy with a focus on Google



  suzblackburn@google.com February 24, 2023 at 9:02:41 PM UTC
  they asked for Philipp on the record and we're thinking about offering you Dan. Q Interview would need to be early next
  week



  suzblackburn@google.com February 24, 2023 at 9:02:59 PM UTC
  is this doable? Could you do in person? I think you're going to be out in MTV right?



  dantaylor@google.com February 24, 2023 at 9:03:49 PM UTC
  ha. Allie told me to less is more when talking about Chatbots



  suzblackburn@google.com February 24, 2023 at 9:03:59 PM UTC
  LOL



  suzblackburn@google.com February 24, 2023 at 9:04:03 PM UTC
  well she is right



  dantaylor@google.com February 24, 2023 at 9:04:05 PM UTC
  i will be in SF Wednesday and Thursday



  suzblackburn@google.com February 24, 2023 at 9:04:08 PM UTC
  but we think this one is going to be bad




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                                        89057
  dantaylor@google.com February 24, 2023 at 9:04: 12 PM UTC
  1 see




  suzblackburn@google.com February 24, 2023 at 9:04: 17 PM UTC
  and it could help ifwe engage



  dantaylor@google.com February 24, 2023 at 9:04:24 PM UTC
  i'll do it if we can mke the timework



  suzblackburn@google.com February 24, 2023 at 9:04:33 PM UTC
  let me see if that would work, we're hearing that they want to run this on Wed



  dantaylor@google.com February 24, 2023 at 9:04:52 PM UTC
  hm ok then would be remote mon/tue then, i'll be wfh and am flexible



  dantaylor@google.com February 24, 2023 at 9:04:54 PM UTC
  those 2 dyas



  suzblackburn@google.com February 24, 2023 at 9:05:00 PM UTC
  k thank you



  suzblackburn@google.com February 24, 2023 at 9:05:20 PM UTC
  just testing the waters, will come back. Lin is running this idea by Corey right now



  suzblackburn@google.com February 24, 2023 at 9:05:23 PM UTC
  (our big boss)



  dantaylor@google.com February 24, 2023 at 9:05:55 PM UTC
  early days, AI is foundational, PMax, we've done platform shifts before etc. the one place i riffed was that conversational AI
  could be one mode of an answer



  suzblackburn@google.com February 24, 2023 at 9:06:05 PM UTC
  it would essentially be the talk track you're already using btw



  dantaylor@google.com February 24, 2023 at 9:06:09 PM UTC
  like image could be for another, or a video for another, a blue link for another




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                                        89058
  dantaylor@google.com February 24, 2023 at 9:06: 11 PM UTC
  ok



  suzblackburn@google.com February 24, 2023 at 9:06:12 PM UTC
  related to chatbots



  dantaylor@google.com February 24, 2023 at 9:06:24 PM UTC
  i got cornered by WSJ asking about publisher impact



  dantaylor@google.com February 24, 2023 at 9:06:31 PM UTC
  need to sharpen or deflect that better



  suzblackburn@google.com February 24, 2023 at 9:06:34 PM UTC
  yea I heard



  vlucile@google.com February 24, 2023 at 9:06:40 PM UTC
  is this coming from Nico, Suz?



  suzblackburn@google.com February 24, 2023 at 9:06:42 PM UTC
  we'll need to prep you for this for sure



  suzblackburn@google.com February 24, 2023 at 9:06:45 PM UTC
  yesQ



  suzblackburn@google.com February 24, 2023 at 9:06:50 PM UTC
  Nico is not our frience



  suzblackburn@google.com February 24, 2023 at 9:06:53 PM UTC
  *friend



  suzblackburn@google.com February 24, 2023 at 9:06:57 PM UTC
  will be a tough interview



  vlucile@google.com February 24, 2023 at 9:07:33 PM UTC
  ifwe can push to have the interview on Wed pm PT, that would be ideal - in person and after the training with Lynn



  suzblackburn@google.com February 24, 2023 at 9:07:53 PM UTC




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                                           89059
  got it, yes that would be ideal



  suzblackburn@google.com February 24, 2023 at 9:07:56 PM UTC
  and then we could in person



  dantaylor@google.com February 24, 2023 at 9:08:18 PM UTC
  sgtn



  dantaylor@google.com February 24, 2023 at 9:08:19 PM UTC
  m



  suzblackburn@google.com February 24, 2023 at 9:08:20 PM UTC
  There are three specific areas where they see Google contributing to this article:How Google is thinking about LLM and the
  way it will impact Search and Ads? For e.g., adve1iising may become less lucrative if users start depending on
  chatbots. There is a general excitement about chatbots - what are Google's plans ofleveraging it? Traditionally, Google has
  sent traffic to publishers, if that changes, what happens to these long-standing relationships that Google has had with
  publishers?



  suzblackburn@google.com February 24, 2023 at 9:09: 11 PM UTC
  we may also decide to offer Philipp off the record as a cmTot



  dantaylor@google.com February 24, 2023 at 9:09:48 PM UTC
  that makes me
  1mage.png


  suzblackburn@google.com February 24, 2023 at 9:09:52 PM UTC
  LOL



  dantaylor@google.com February 24, 2023 at 9:10:45 PM UTC
  also, i need to remember that all my chats are now saved/discoverable by default, just FYI



  suzblackburn@google.com February 24, 2023 at 9:10:53 PM UTC
  yes mine too



  dantaylor@google.com February 24, 2023 at 9:10:55 PM UTC
  k




CONFIDENTIAL                                                                                         GOOG-AT-MDL-009480565
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                                         89060
  dantaylor@google.com February 24, 2023 at 9:11:13 PM UTC
  biblical jokes dont age well



  suzblackburn@google.com February 24, 2023 at 9: 12:26 PM UTC
  really? they seem pretiy timeless to me!



  suzblackburn@google.com February 24, 2023 at 10:03:29 PM UTC
  Corey is on board with the plan so we're going to move it forward



  suzblackburn@google.com February 24, 2023 at 10:03:35 PM UTC
  going to send out a note to execs and will copy you Dan



  suzblackburn@google.com February 25, 2023 at 12:22:06 AM UTC
  @Dan Taylor we just talked to reporter and ideally we can set up interview on Monday afternoon ET which means prepping
  Monday morning. Ok to ask Vera to prioritize?



  dantaylor@google.com February 25, 2023 at 12:44:45 AM UTC
  Sure. Nothing on Monday that can't be rescheduled so boom what works



  dantaylor@google.com February 25, 2023 at 12:44:50 AM UTC
  *book



  suzblackburn@google.com February 25, 2023 at 12:48:44 AM UTC
  Thanks Dan



  dantaylor@google.com February 25, 2023 at 12:49:08 AM UTC
  I live to serve ..



  suzblackburn@google.com February 25, 2023 at 12:49:53 AM UTC
  We appreciate it




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                                     89061




                             Exhibit 4GG
                        Custodian: Danielle Romain
                 Bates No.: GOOG-AT-MDL-010366478
                        Trial Exhibit No.: PTX1797
      Case 1:23-cv-00108-LMB-JFA Document 1203-6 Filed 08/23/24 Page 114 of 150 PageID#
                                           89062
  Message


  From:           yvettehc@google.com [yvettehc@google.com]
  Sent:           11/10/20216:15:58 PM
  To:             yvettehc@google.com; dromain@google.com
  Subject:        AAAAAiEErHE-MBI-FLAT:2021-11-09T23:15:58.284495



  •          yvettehc@google.com 2021-11-10T18:15:58.284Z
  ok for me to keep history on here? need to keep some info for memory purposes 0
  •          dromain@google.com 2021-11-10T18:34:34.134Z
  Yvette, unfortunately, I'm not supportive of turning history on. The discussion that started this thread gets into
  legal and potentially competitive territory, which I'd like to be conscientious of having under privilege. So that
  you're aware, when history is on, it's discoverable. Sometimes that's totally fine but I'd like to stick to the
  default of history off. Thanks




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                                     89063




                             Exhibit 4HH
                       Custodian: Vidhya Srinivasan
                 Bates No.: GOOG-AT-MDL-014680318
                        Trial Exhibit No.: PTX1000
      Case 1:23-cv-00108-LMB-JFA Document 1203-6 Filed 08/23/24 Page 116 of 150 PageID#
                                           89064
  Message


  From:           Vidhya Srinivasan [vids@google.com]
  Sent:           10/29/2020 4:44:03 PM
  To:             Christophe Combette [ccombette@google.com]



  •         Vidhya Srinivasan, 2 02 0-10-2 9 o9: 44: 03
  hi
  •         Vidhya Srinivasan, 2020-10-29 09: 44: 09
  is there a new deck for mtg tomorrow?
  •         Christophe Combette, 2 02 0-10-2 9 o9: 44: 16
  working on it now
  •         Christophe Combette, 2 02 0-10-2 9 o9: 44: 24
  will share before noon
  •         Vidhya Srinivasan, 2020-10-29 09:44:25
  thanks
  •         Christophe Combette, 2 02 0-10-2 9 o9: 45: 42
  have you seen the deck for later today?
  •         Christophe Combette, 2 02 0-10-2 9 o9: 45: 44
  <a
  href="https://www.google.com/url?q=https://docs.google.com/presentation/d/lRB4uFprGQtEjmBkk5MLrjU4r
  ZVVrTL0 l LkLL_ TZ86FY/edit%23slide%3Did.ga506638254 _ 0_ 5&amp;sa=D&amp;source=hangouts&amp;u
  st=l604076344242000&amp;usg=AFQjCNGkXfOMuLyYwhWWMQGGzpAMFPQMkw">https://docs.googl
  e.com/presentation/d/1RB4uFprGQtEjmBkk5MLrjU4rZVVrTL01LkLL_TZ86FY/edit#slide=id.ga506638254_
  0 5</a>
  •         Vidhya Srinivasan, 2 o2 o-1 o- 2 9 o9 : 4 7 : o2
  what should I pay attnetion to?
  •         Christophe Combette, 2 02 0-10-2 9 o9: 4 7: 4 o
  mostly the timeline
  •         Christophe Combette, 2 02 0-10-2 9 o9: 4 s: 03
  and the content of the messaging strategy on p4
  •         Christophe Combette, 2 02 0-10-2 9 o9: 4 s: 3 9
  essentially plan is to go out with something that talks about Anning but doesn&#39;t say whether we will
  comply or not (just that we won&#39;t use IDFA).
  •         Christophe Combette, 2 02 0-10-2 9 o9: 4 9: oo
  Backchannel with the press to try focus the PR on competition
  •         Christophe Combette, 2 02 0-10-2 9 o9: 4 9: os
  (for Apple)
  •         Christophe Combette, 2 02 0-10-2 9 o9: 4 9: 1 s
  If it lands, we go with Plan A
  •         Christophe Combette, 2 02 0-10-2 9 o9: 4 9: 2 s




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                                           89065
  if we land in privacy narratives, we fall back on plan B
  •       Vidhya Srinivasan, 2 o 2 o -1 o - 2 9 o 9 : 4 9 : 4 o
  this is good .. we should add to deck tomorrow
  •       Christophe Combette, 2 o 2 o -1 o - 2 9 o 9 : 4 9 : 4 6
  yes
  •       Christophe Combette, 2 02 0-10-2 9 o 9: 4 9: 51
  I am using this
  •       Christophe Combette, 2 02 0-10-2 9 o 9: 50: 02
  and then going to add more detail on &quot;dreadlines&quot; after phase A
  •       Christophe Combette, 2 02 0-10-2 9 o 9: 50: 1 o
  phase A= initial blog
  •       Christophe Combette, 2 02 0-10-2 9 o 9: 50: 1 7
  the one thing I uncovered yesterday
  •       Christophe Combette, 2 02 0-10-2 9 o 9: 50: 27
  and might come up tomorrow if you are talking to Hiroshi
  •       Christophe Combette, 2 02 0-10-2 9 o 9: 50: 4 o
  it seems as though Android isn&#39;t sold on announcing Anning
  •       Vidhya Srinivasan, 2 02 0-10-2 9 o 9: 51: 04
  can we go thru this togehter at 5:30pm
  •       Christophe Combette, 2 02 0-10-2 9 o 9: 51: o 9
  we need to bring them into the conversation more
  •       Christophe Combette, 2 02 0-10-2 9 o 9: 51: 14
  yes
  •       Vidhya Srinivasan, 2020-10-29 09: 51: 22
  or 5
  •       Christophe Combette, 2 02 0-10-2 9 o 9: 51: 58
  just sent you an invite for 5:30
  •       Vidhya Srinivasan, 2020-10-29 09:52:10
  ok
  •       Vidhya Srinivasan, 2020-10-29 09:59:58
  Does the new French suit against Apple change our strategy
  •       Christophe Combette, 2 02 0-10-2 9 1o:o1:29
  I would assume it helps
  •       Christophe Combette, 2 02 0-10-2 9 1 o: o 1: 44
  the two are very unrelated in that this is about wholesale of hardware
  •       Christophe Combette, 2 02 0-10-2 9 1o:o1:48
  and the app store
  •       Christophe Combette, 2020-10-29 10: 02: 10




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                                           89066
  but on the surface, the story is &quot;Apple&#39;s behavior is not healthy for competition&quot;
  •       Christophe Combette, 2 02 0-10-2 9 1 o: 02: 41
  it&#39;s the kind of tidbit they would add to the articles, like Epic
  •       Vidhya Srinivasan, 2 02 0-10-2 9 1 o: o 6: 21
  what was the eaact suit
  •       Vidhya Srinivasan, 2 02 0-10-2 9 1 o: o 6: 2 s
  exact
  •       Christophe Combette, 2 02 0-10-2 9 1 o: o 6: 42
  <a href="https://www.google.com/url ?q=https://www.cnn.com/2020/03/ l 6/tech/apple-fine-
  france/index.html&amp;sa= D&amp;source=hangouts&amp;ust= 1604077 602625000&amp;usg=AFQj CNHgc 1
  se-IPzOTH4Y qHpllw_ a8QJbg">https://www.cnn.com/2020/03/16/tech/apple-fine-france/index.html</a>
  •       Christophe Combette, 2020-10-29 10: os: 09
  do you know if our pings are privileged/ discoverable?
  •       Vidhya Srinivasan, 2 02 0-10-2 9 1o:os:39
  we should turn history off




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                                     89067




                Chats Reflecting
               Lawyer Directives
                To Turn History
                      Off
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                                     89068




                               Exhibit 4II
                          Custodian: Nitish Korula
               Bates No.: GOOG-AT-MDL-B-003992377
                        Trial Exhibit No.: PTX0891
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                                           89069
  Message

  From:           Nitish Korula [nitish@google.com]
  Sent:           11/12/2019 8:59:25 PM
  To:             Jonathan Pearson [finchley@google.com]; Uchechi Okereke [uchechi@google.com]; Curt Harting
                  [rcharting@google.com]



  •         Nitish Korula, 2 o 19-11-12 12 : 5 9: 2 5
  Curt, Jonathan: Can we preserve old DT files from the last 60 days
  •         Curt Harting, 2 o 1 9-11-12 12 : 5 9 : 3 5
  Talked to Chech now
  •         Nitish Korula, 2 o 19-11-12 12 : 5 9: 3 9
  Ok, great
  •         Curt Harting, 2 o 1 9-11-12 12 : 5 9 : 4 7
  Will email Jonathan to get him up to speed
  •         UchechiOkereke,2019-11-12 12:59:49

  Please can we tum history off?




HIGHLY CONFIDENTIAL                                                                                GOOG-AT-MDL-B-003992377
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                                     89070




                              Exhibit 4JJ
                           Custodian: Dan Taylor
                             Witness: Dan Taylor
                 Bates No.: GOOG-AT-MDL-009452636
                        Trial Exhibit No.: PTX0649
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                                           89071
  Message


  From:          Bhanu Narasimhan [bhanun@google.com]
  Sent:          9/4/2018 7:24:36 PM
  To:            Courtney Kuhl [ckuhl@google.com]; Shankar Ponnekanti [shankar@google.com]; Ted Lazarus
                 [tlazarus@google.com]; Shree Madhavapeddi [shreem@google.com]; Payam Shodjai [pshodjai@google.com]; Dan
                 Taylor [dantaylor@google.com]; Pankaj Deshpande [reply-106034586383358357354@profiles.google.com]; Vivek
                 Rao [vivekrao@google.com]; Andy Miller [andymiller@google.com]; Vic Liu [reply-
                 116024347688485432888@profiles.google.com]; Matt Kellogg [mkellogg@google.com]; Emily Garber
                 [egarber@google.com]; Lauren Gomez [lgomez@google.com]; Vicky Homan [vickyhoman@google.com]
  Subject:       Advertiser Uploaded Data - ACM



  •          BhanuNarasimhan, 2018-09-04 12:24:36

  ATTORNEY-CLIENT PRIVILEGED
  •          BhanuNarasimhan, 2018-09-04 12:24:40

  Folks
  •          BhanuNarasimhan,201s-09-04 12:25:32

  we had a discussion at Ads Review about advertiser uploaded data, and will need to schedule an ACM - content
  will be roughly from this ads review doc: <a
  href="https://www.google.com/url?q=https://docs.google.corn/document/d/lkXedMn_T2JlbkxIFpuOyA4Seri_
  Eck7SpJPe9Hf2xyU/edit?pli%3D1&amp;sa=D&amp;source=hangouts&amp;ust=1536175532320000&amp;us
  g=AFQjCNGDGLsYHYL_Ycut6c9tt4swcc4vwQ">https://docs.google.com/document/d/1kXedMn_T2JlbkxIF
  puOyA4Seri_Eck7SpJPe9Hf2xyU/edit?pli=l </a>
  •          TedLazarus,2018-09-04 12:25:38

  bhanu can we keep pings off the record pls
  •          BhanuNarasimhan,2018-09-04 12:26:05

  (ok will turn history off)




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                                     89072




                             Exhibit 4KK
                  Custodian: Nirmal Jayaram; Vivek Rao
                          Witness: Nirmal Jayaram
                 Bates No.: GOOG-AT-MDL-008520405
                         Trial Exhibit No.: PTX1070
      Case 1:23-cv-00108-LMB-JFA Document 1203-6 Filed 08/23/24 Page 125 of 150 PageID#
                                           89073
  Message


  From:           arta@google.com [arta@google.com]
  Sent:           8/16/2022 6:30:37 PM
  To:             arta@google.com; dbturner@google.com; xiaoyong@google.com; brchan@google.com; kalambur@google.com
  Subject:        AAAATQGflhl-MBI-THREADED:ri_eckjQhZM%%%2022-08-15T23:30:37.736799



  •          arta@google.com 2022-08-16Tl8:30:37.736Z
  Whoa
  •          Deleted on2022-10-20T00:12:40.295Z
  Whoa
  •          arta@google.com 2022-08-16Tl8:30:44.703Z
  Ryan just dropped the most important doc for DMA
  •          Deleted on2022-10-20T00:12:40.295Z
  Ryan just dropped the most important doc for DMA
  •          arta@google.com 2022-08-16Tl8:30:51.774Z
  https://docs.google.com/document/d/lmJwkQsSWm3y_lqYJPljeEAkKBD0sFjdWau59diOMmRk/edit?resour
  cekey=0-hjyRiuWni39slJ8qY7O7mg
  o             https://docs.google.com/document/d/1 mJwkOsSWm3y lg YJP] jeEAkKBD0sFjdWau59diOMm
  Rk/edit?resourcekey=0-hjyRiuWni39slJ8gY7O7mg
  o                https://drive.google.com/open?id=lmJwkOsSWm3y lgYJP1jeEAkKBD0sFjdWau59diOMmRk
  •          Deleted on2022-10-20T00: 12:40.295Z
  https://docs.google.com/document/d/lmJwkQsSWm3y_lqYJPljeEAkKBD0sFjdWau59diOMmRk/edit?resour
  cekey=0-hjyRiuW ni39slJ8qY7O7mg
  o              https://docs.google.com/document/d/lmJwkOsSWm3y lgYJPljeEAkKJ3D0sFidWau59diOMm
  Rk/ edit?resourcekey=0-hjyRiu Wni39slJ8g Y7O7mg
  o                https://drive.google.com/open?id= lmJwkOsSWm3y 1gYJP ljeEAkKBD0sFjdWau59diOMmRk
  •          dbturner@google.com 2022-08-l 6Tl 8:31 :00. l 77Z
  what is it?
  •          Deleted on2022-10-20T00:12:40.295Z
  what is it?
  •          arta@google.com 2022-08-16Tl8:31:08.299Z
  "Personal Data and Anonymization under the GDPR"
  •          Deleted on2022-10-20T00:12:40.295Z
  "Personal Data and Anonymization under the GDPR"
  •          xiaoyong@google.com 2022-08-16Tl8:49:53.147Z
  I requested access. Thanks for sharing@
  •          Deleted on2022-10-20T00:12:40.295Z
  I requested access. Thanks for sharing@
  •          arta@google.com 2022-08-16Tl8:50:26.025Z
  It is scary




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                                           89074
  •       Deleted on2022-10-20T00:12:40.295Z
  It is scary
  •       arta@google.com 2022-08-16Tl8:50:33.275Z
  The conservative view that is
  •       Deleted on2022-10-20T00: 12:40.295Z
  The conservative view that is
  •       brchan@google.com 2022-08- l 6T 18:50:46.4002
  i was about to comment in here .. but decided communicate with care
  •       Updated on2022-08-l 6Tl 8:50:5 l.032Z
  i was about to comment in here .. but decided to communicate with care
  •       Deleted on2022-10-20T00:12:40.295Z
  i was about to comment in here .. but decided to communicate with care
  •       arta@google.com 2022-08-16Tl8:51:15.590Z
  ephemeral chats are ok per legal
  •       Deleted on2022-10-20T00:12:40.295Z
  ephemeral chats are ok per legal
  •       arta@google.com 2022-08-16Tl8:51:18.632Z
  esp when you have legal on it
  •       Deleted on2022-10-20T00:12:40.295Z
  esp when you have legal on it
  •       brchan@google.com 2022-08-16Tl8:51:34.477Z
  is this ephermeral? i thought history is on
  •       Deleted on2022-10-20T00:12:40.295Z
  is this ephermeral? i thought history is on
  •       arta@google.com 2022-08-16Tl8:51 :41.502Z
  No this has history
  •       Deleted on2022-10-20T00:12:40.295Z
  No this has history
  •       arta@google.com 2022-08-16Tl8:52:09.060Z
  but maybe not infinite history
  •       Deleted on2022-10-20T00:12:40.295Z
  but maybe not infinite history
  •       arta@google.com 2022-08-l 6Tl 8:52: 16. l 06Z
  so maybe it is quasi ephemeral?
  •       Deleted on2022-10-20T00:12:40.295Z
  so maybe it is quasi ephemeral?
  •       arta@google.com 2022-08-16Tl8:52:17.930Z
  lol




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                                           89075
  •       Deleted on2022-10-20T00:12:40.295Z
  lol
  •       xiaoyong@google.com 2022-08-16Tl8:52:42.753Z
  Also is this doc for submission to EC or for internal guidance?
  •       Deleted on2022-10-20T00: 12:40.295Z
  Also is this doc for submission to EC or for internal guidance?
  •       arta@google.com 2022-08-16Tl8:52:53.353Z
  Internal
  •       Deleted on2022-10-20T00:12:40.295Z
  Internal
  •       arta@google.com 2022-08-16T18:53:02.476Z
  the EC doc was pushing the liberal approach
  •       Deleted on2022-10-20T00:12:40.295Z
  the EC doc was pushing the liberal approach
  •       xiaoyong@google.com 2022-08- l 6Tl 8:53 :48. 851 Z
  ok, this makes me feel better
  •       Deleted on2022-10-20T00:12:40.295Z
  ok, this makes me feel better
  •       kalambur@google.com 2022-08-16Tl9:21:46.646Z
  I'll have to give it a read through this week. I expected to see a pretty academic definition here tbh
  •       Deleted on2022-10-20T00:12:40.295Z
  I'll have to give it a read through this week. I expected to see a pretty academic definition here tbh




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                    Other
               Substantive Chats
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                                     89077




                             Exhibit 4LL
                          Custodian: Chris LaSala
                           Witness: Chris LaSala
                 Bates No.: GOOG-AT-MDL-012386226
                        Trial Exhibit No.: PTX0043
   Case 1:23-cv-00108-LMB-JFA Document 1203-6 Filed 08/23/24 Page 130 of 150 PageID#
                                        89078
  Message


  From:        Chris LaSala [chrisl@google.com]
  Sent:        4/16/2009 3:12:07 AM
  To:          Chris LaSala [chrisl@google.com]
  Subject:     notes with jyoon



  Janine: oh I thought you were waiting for contract
   Sent at 8:44 PM on Wednesday
   me: hi
  if i can get it
  i doubt its much different than 75% and 15%
  which, isn't really that diff from 50% and 5%
  yes, 15 % is bigger than 5 %
  but 75>50
   Janine: ...
  what?
   me: what?
  Yell
   Janine: ohhh
   me: if they signed up for 75% share ofretail
  for 15%
   Janine: sorry, I didn't reallize you were talking about yell
   me: i'm saying that 75 is bigger then 50
   Janine: that was a really strange IM standalone
   me: lol
   Janine: yes that is a fact
   me: keep up yoong
  ok - let's look at your spreadsheet
   Janine: I've put in default numbers that assumes that the only thing that changes is spend on Google,
  everything else the same
  you can of course complicate things by changing their spend on other media, sales cost etc.
   me: right
   Janine: but at the basicest level - if you only up your spend on Google and change nothing else, you're our
  7.5% if your original share of retail was 35% and you were making 10% net margins
   Sent at 8:54 PM on Wednesday
   me: we
  we'd have to up the % to 20% for them to break even
  in your model
   Janine: well, they could always be more efficient
   me: but all things being equal
   Janine: spend less on Yahoo
  yes
   Sent at 8:56 PM on Wednesday
   me: however, if you move share of wallet to 45%
  then you only have to move to 10% for them to break even
   Janine: yes
  but they're still worse off compared to sticking with their 35%
   me: btw, ijust linked cell bl 9 to b6
   Janine: sure
  I just thought you might want to play around with that




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                                        89079
  oh yay, you color coded to
   me: lol
  i'm a modeler
  by heart
   Sent at 9:01 PM on Wednesday
   me: maz tells me YB has 55% toward media
   Janine: maybe
  they said they were contractually onbligated to cap their margin at 50%
   me: byus?
   Janine: yes, they're contract does that
  so on the phone today they said I could assume that their share of wallet was 50% (media) x 65% (Google)=
  32.5%
  if they've told Maz 55% to media outside of this call, that's that then
   me: ok
   Janine: when I asked them today what their actual numbers were, your Pat was not inclined to share
   me: he was mad
  so, i think i broke your 2nd part of the model
  no, i didn't
   Janine: no yo udidn't
   me: if they start with 55% and break even
  and they want to keep everything else the same
  we'd have to pay 20% for them to move to our model
  OR
  they have to spend less elsewhere
  (assuming their sales and platform costs are fixed in short term)
   Janine: yup
  I guess he knows what he wants when he asks for 30%
   me: he does
   Sent at 9:09 PM on Wednesday
   me: why does it get worse for them if they are spending more on media
   Janine: they get less gross margin?
   me: yes
  right
  duh
   Janine: this is fun, huh
   me: yes
  i'm wondering if we are penalizing people that already spend alot on media
   Janine: i see
  vs people that don't but have lower share to Google
   me: wait
  i'm not looking at the right#
  we should be looking at the delta
   Janine: yes
  we were
  when I said "worse off from before"
  as in. - yes they breakeven, but they are still worse of from before
   me: i was playing with #s to drive b25 to 0
  i should be playing with #s to drive b27 to 0
  that is the point of indifference
  right?
   Janine: yes
   Sent at 9: 16 PM on Wednesday




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                            Exhibit 4MM
              Custodian: Deepti Bhatnagar; Nitish Korula
                           Witness: Nitish Korula
                Bates No.: GOOG-AT-MDL-009007872
      Case 1:23-cv-00108-LMB-JFA Document 1203-6 Filed 08/23/24 Page 133 of 150 PageID#
                                           89081
  Message


  From:          Nitish Korula [nitish@google.com]
  Sent:          3/5/20219:56:16 PM
  To:            Deepti Bhatnagar [deeptib@google.com]



  •         Nitish Korula, 2021-03-05 13: 5 6: 16
  Nick seems much more sensible on this than Brent, but I guess some of that is GDA vs. DV3
  •         Nitish Korula, 2021-03-05 13: 57: 23
  And why not click-optimized spend?
  •         NitishKorula,2021-03-05 13:59:25

  How many *years* I&#39;ve had to listen to Ali say &quot;your sellside revshare is too high, all the value is on
  the buyside, lower your revshare and let us raise ours&quot;
  •         Deepti Bhatnagar, 2021-03-05 14: 05: 51
  yeah I know
  •         DeeptiBhatnagar,2021-03-05 14:06:04

  I heard that too when I was on buyside
  •         Deepti Bhatnagar, 2021-03-05 14: o6: 58
  When Ali heard that I was moving to sell side, the first thing he told me was to lower the AdX revshare @
  •         Nitish Korula, 2021-03-05 14: 07: 05
  &lt;cracks up&gt;




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                                     89082




                             Exhibit 4NN
                Custodian: George Levitte; Nitish Korula
                 Witness: George Levitte; Nitish Korula
                  Bates No.: GOOG-DOJ-AT-00611433
      Case 1:23-cv-00108-LMB-JFA Document 1203-6 Filed 08/23/24 Page 135 of 150 PageID#
                                           89083
  Message


  From:           Nitish Korula [nitish@google.com]
  Sent:           5/26/2020 4:01:41 PM
  To:             George Levitte [glevitte@google.com]



  •         Nitish Korula, 2020-05-26 09: 01: 41

  Did you and Haskell reach out to Chris yet, btw?
  •         George Levitte, 2 o2 o- o5- 2 6 o9 : o1 : 51
  I&#39;m speaking with him now
  •         NitishKorula,2020-05-26 09:02:02

  Great, thanks
  •         George Levitte, 2 o2 o- o5- 2 6 o9 : o2 : o4
  or in a couple min from now
  •         George Levitte, 2 o2 o- o5- 2 6 o9 : 3 8 : 4 9
  just chatted with Chris, and we made a few updates
  •         George Levitte, 2 o2 o- o5- 2 6 o9 : 3 9 : o1
  Jedi ShowAds Errors -&gt; committing to EOY launch goal
  •         George Levitte, 2 o2 o- o5- 2 6 o9 : 3 9 : 5 4
  Project 851 -&gt; committing to experiment, but not to launch ... need to see what the yield vs resource cost
  tradeoff looks like before deciding to move forward (currently fixing a rasta bug so original experiment #s not
  trustworthy)
  •         GeorgeLevitte, 2020-05-26 09:40:52
  also added two new items for (1) better RTB event notifications on mapp w/ EOY launch goal, (2) investigate
  native impression discrepancy w/ FB - unclear what needs to be done but we&#39;11 need to spend cycles on it
  •         George Levitte, 2 o2 o- o5- 2 6 o9 : 41 : 4 2
  these are now in the &#39;apps monetization&#39; headline proposal and I&#39;ve commented in others as fyi
  / request for feedback
  •         NitishKorula,2020-05-26 09:51:47

  Great, thanks!




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                             Exhibit 4OO
               Custodian: Nirmal Jayaram; Nitish Korula
                 Witness: Nirmal Jayaram; Nitish Korula
                Bates No.: GOOG-AT-MDL-011558055
From:     Nirmal Jayaram <nirmaljayaram@google.com>
To:      Case
          Nitish1:23-cv-00108-LMB-JFA
                 Korula <nitish@google.com> Document 1203-6 Filed 08/23/24 Page 137 of 150 PageID#
Sent:     Wed, 14 Oct 2020 11 :07:44 -0700 (PDT)      89085


 Nirmal Jayaram, 2020-10-14 11, 07, 44

 Hey Nitish, not sure how closely you are in the loop on multi-call v2

 Nirmal Jayaram, 2020-10-14 11, 07, 54

 There are a number of issues on it right now

 Nirmal Jayaram, 2020-10-14 11, 08, oo

 I&#39;m not sure it needs to be a CY blocker

 Nirmal Jayaram, 2020-10-14 11, 08, 08

 so we can take our time and launch it in QI

 Nirmal Jayaram, 2020-10-14 11, 08, 11

 wdyt?

 Nitish Korula, 2020-10-14 11, 08, 15

 Not yet sure

 Nitish Korula, 2020-10-14 11, 09, 31

 I do want to get it out because I think that ideally we should have done it a while ago, and the longer we build on the less
 accurate classification, the harder it is to make a change. (That said, I think the new algorithm needs t to be fixed so
 it&#39;s more accurate on transition probabilities, besides being more accurate on the chain itself)

 Nirmal Jayaram, 2020-10-14 11, 09, 47

 right, but it&#39;s blocking other improvements right now

 Nirmal Jayaram, 2020-10-14 11, 10, 01

 and i&#39;m not optimistic hearing about the issues we have enough time in Q4 with all the code freezes to get it out

 Nitish Korula, 2020-10-14 11, 10, 03

 So that&#39;s something I want to understand. What is it blocking

 Nirmal Jayaram, 2020-10-14 11, 10, 49

 bemanke fallback improvements, which needs a new key val infra

 Nirmal Jayaram, 2020-10-14 11, 11, 16

 this caused the latest issue we saw where because we assume new slots are on-platform, it caused a bunch of margin issues
 when the multi call table failed recently

 NirmalJayaram, 2020-10-14 11,11:26

 the new infra will allow us to treat this better




  CONFIDENTIAL                                                                                     GOOG-AT-MDL-011558055
Nirmal Jayaram, 2020-10-14 11, 11, 31
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                                           89086
i can give you more details in an email

Nitish Korula, 2020-10-14 11, 24, 10

And we can&#39;t do this in parallel?

Nirmal Jayaram, 2020-10-14 11:26:23

doesn&#39;t seem so. I&#39;lljoin the platform leads sync today at 1 PM PST

Nirmal Jayaram, 2020-10-14 13, 08, 39

Hi Nitish, I&#39;m thinking we need to define the experiment we want to run that becomes the launch expt

Nitish Korula, 2020-10-14 13, 08, 50

Yes

Nirmal Jayaram, 2020-10-14 13, 08, 50

maybe the two of us can write a doc defining this experiment and the components

Nitish Korula, 2020-10-14 13, 08, 54

Sounds good

Nitish Korula, 2020-10-14 13, 09, 05

Do you want to also include Deepak?

Nirmal Jayaram, 2020-10-14 13,09,21

Ali pinged just the two of us. But I have a 1-1 with Ali later. I can ask him

Nirmal Jayaram, 2020-10-14 13, 09, 39

Ali thinks (and rightly so) the two of us have a full view of the ecosystem

Nirmal Jayaram, 2020-10-14 13, 09, 44

to help structure the roadmap

Nirmal Jayaram, 2020-10-14 13, 09, 56

Deepak has great visibility on parts of this related to audience

Nitish Korula, 2020-10-14 13,12,21

Ok, sounds good

Nitish Korula, 2020-10-14 13, 12, 55

Let me know either way

Nirmal Jayaram, 2020-10-14 13, 13, 22

will do




 CONFIDENTIAL                                                                               GOOG-AT-MDL-011558056
Nitish Korula, 2020-10-14 13, 13, 45
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                                            89087
But yes, I think we can reasonably do that

Nitish Korula, 2020-10-14 14:46:36

It&#39;s actually really nice to hear Ali ask fundamental questions Q

Nitish Korula, 2020-10-14 14,47,04

He pushes people in different directions that even if they don&#39;t pursue, are good for quality of thinking

Nirmal Jayaram, 2020-10-14 14, 47, 10

ya he is not too involved in the app space, but he is smart to quickly grasp things and ask good questions

Nitish Korula, 2020-10-14 15, 06, 56

What is this DAA project?

Nirmal Jayaram, 2020-10-14 15, os, 40

decoupling acquisition and allocation

Nirmal Jayaram, 2020-10-14 15, 09, 05

it;s in a research stage where we are tying to see if we can value and buy a query without running the auction

Nitish Korula, 2020-10-14 15,09,21

So it&#39;s a type-2 serving kind of thing?

Nirmal Jayaram, 2020-10-14 15, 09, 23

so presumably it will make the bids the same if we use the right features for building that model

Nirmal Jayaram, 2020-10-14 15, 09, 31

ya and then it has to be coupled with type-2 to save resources

Nirmal Jayaram, 2020-10-14 15, 09, 49

i didnt propose this because the timelines ...

Nirmal Jayaram, 2020-10-14 15, 19, 01

Nitish, think of it this way. We didn&#39;t want to do awbid on apps, because we wanted to clear the path for bidding out

Nirmal Jayaram, 2020-10-14 15, 19, 16

Im worried this goes in the opposite direction for not much in way of long term benefit

Nirmal Jayaram, 2020-10-14 15, 19, 33

obviously this is a more recent concern since now we are aligned on bidding out

Nirmal Jayaram, 2020-10-14 15, 19, 44

and have responsibility towards getting it out as soon as we can




 CONFIDENTIAL                                                                                       GOOG-AT-MDL-011558057
Nitish Korula, 2020-10-14 1s,2s,02
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                                           89088
It&#39;s a fair question, yes




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                              Exhibit 4PP
                  Custodian: David Mitby; Sissie Hsiao
                  Bates No.: GOOG-DOJ-AT-00860570
      Case 1:23-cv-00108-LMB-JFA Document 1203-6 Filed 08/23/24 Page 142 of 150 PageID#
                                           89090
  Message


  From:          David Mitby [dmitby@google.com]
  Sent:          10/8/2020 4:16:24 PM
  To:            Sissie Hsiao [sissie@google.com]



  •         DavidMitby, 2020-10-os 09:16:24
  my feedback on rolling it out... i think some of the &quot;denial&quot; comes from the fact that when cookie
  deprecation was first announced, there was a sense that if it doesn&#39;t &quot;work&quot; for pubs, chrome
  would do something different. I think now there&#39;s increasing realization that cookies are gone regardless
  of the cost (though 100% agree we need to communicate the cost *now*) ... but need to message that somehow
  since people may still feel we&#39;re in &quot;R&amp;D+ mode&quot; trying to see if no cookies are even
  viable
  •         DavidMitby,2020-10-os 09:17:25

  second point would be on motivation -- i think it&#39;s hard to get people fired up here without knowing the
  why; like are we doing something really better for users? cool tech that&#39;s a better future of the web? or is it
  really just a response to inevitable regulation and chrome defensiveness?
  •         David Mitby, 2020-10-os 09: 17: 34
  the more it&#39;s the latter, the harder to get people super fired up for the year
  •         Sissie Hsiao, 2020-10-os 09:19:29
  Y ah, I hear you
  •         Sissie Hsiao, 2020-10-os 09:19:31
  However.
  •         Sissie Hsiao, 2020-10-os 09:19:40
  The reality is this was pushed on us. Any other story, is frankly, wrong
  •         DavidMitby, 2020-10-os 09:19:46
  1 agree

  •         Sissie Hsiao, 2020-10-os 09:19:50
  as for R&amp;D into reality mode
  •         Sissie Hsiao, 2020-10-os 09:20:04
  I would say, the initial results on Floe and Rmktg (again, super early) don&#39;t indicate to me enough $$s to
  pump the brakes
  •         DavidMitby, 2020-10-os 09:20:09
  and shouldn&#39;t make it up as something better for users if it actually isn&#39;t (and that would even
  suggest what we&#39;ve been doing so far is bad, which I. don&#39;tthink it is)
  •         Sissie Hsiao, 2020-10-os 09:20:11
  Certainly, not enough $$s for Sundar to pump the brakes
  •         Sissie Hsiao, 2020-10-os 09:20:22
  I know b/c I already showed him those $$sin broad swath
  •         Sissie Hsiao, 2020-10-os 09:20:30
  exactly




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  •       Sissie Hsiao, 2020-10-os 09:20:36
  I don&#39;t want to say &quot; we were sucking before&quot;
  •       DavidMitby, 2020-10-os 09:20:42
  100% agree
  •       Sissie Hsiao, 2020-10-os 09:20:43
  we are caught in the crosswind of regulators and apple
  •       Sissie Hsiao, 2020-10-os 09:20:45
  and we need to respond
  •       Sissie Hsiao, 2020-10-os 09:20:51
  we weren&#39;t doing anything *wrong*
  •       DavidMitby, 2020-10-os 09:21:03
  and saying we were sucking before implies that we should completely walk away from Anning on Apps which I
  don&#39;t think we (yet) should do
  •       Sissie Hsiao, 2020-10-os 09:21:22
  Mike and Vids are pushing me pretty hard to put kanon on the Android roadmap, fwiw
  •       Sissie Hsiao, 2020-10-os 09:21:29
  even if it&#39;s not 2021 response
  •       Sissie Hsiao, 2020-10-os 09:21:40
  the other thing is - will and folk have already sold kanon to regulators
  •       Sissie Hsiao, 2020-10-os 09:21:52
  that&#39;s what worries me more. Our response to Irish DPC on RTB is k-anon.
  •       DavidMitby, 2020-10-os 09:21:56
  i think we just need to settle whether it&#39;s a hedge vs. a true bum the ships approach
  •       Sissie Hsiao, 2020-10-os 09:22:05
  I&#39;m worried that &quot;ship has sailed&quot; because of what we said to regulators to get them off our
  backs.
  •       DavidMitby, 2020-10-os 09:22:06
  yup, that&#39;s brutal
  •       DavidMitby, 2020-10-os 09:22:22
  but in terms of cost, i really don&#39;t think the O&amp;O impact has been understood too
  •       Sissie Hsiao, 2020-10-os 09:22:30
  I agree w that
  •       Sissie Hsiao, 2020-10-os 09:22:35
  that&#39;s what I said to Jerry and team
  •       DavidMitby, 2020-10-os 09:22:40
  especially YT
  •       Sissie Hsiao, 2020-10-os 09:22:43
  did we tee up the real $ price tag of privacy?




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  •       DavidMitby, 2020-10-os 09:22:48
  and with Tim being new and no one looking at it...
  •       Sissie Hsiao, 2020-10-os 09:22:50
  if not, let&#39;s do that now
  •       Sissie Hsiao, 2020-10-os 09:23:03
  I think jerry gets that now, so I expect some action
  •       DavidMitby, 2020-10-os 09:23:06
  it&#39;s a very pivotal moment
  •       Sissie Hsiao, 2020-10-os 09:23:27
  even so, O&amp;O will say save link deco, right?
  •       Sissie Hsiao, 2020-10-os 09:23:31
  and protect EC
  •       Sissie Hsiao, 2020-10-os 09:23:34
  and cust match
  •       DavidMitby, 2020-10-os 09:23:42
  people say that but not really -- it would go into aggregate apis
  •       DavidMitby, 2020-10-os 09:23:46
  as i understand it
  •       Sissie Hsiao, 2020-10-os 09:23:47
  link deco, IMO, is not really having to be killed.
  •       Sissie Hsiao, 2020-10-os 09:24:01
  EC and Cust match have to go to aggregate as well?
  •       Sissie Hsiao, 2020-10-os 09:24:03
  I haven&#39;t heard that.
  •       DavidMitby, 2020-10-os 09:24:06
  i agree but sounds like chrome is readying public statements that they will kill it?
  •       DavidMitby, 2020-10-os 09:24:36
  yeah the slippery slope here (and i honestly don&#39;t think i&#39;m being dramatic) is the full loss of any
  personalized advertising
  •       Sissie Hsiao, 2020-10-os 09:24:38
  I think if I were jerry, that&#39;s the part I would argue for stay of execution. Not clear that&#39;s really
  necessary. But I don&#39;t know the$ difference, since most of the bidding teams have been ignoring the
  msmt team&#39;s event level API efforts.
  •       DavidMitby, 2020-10-os 09:24:56
  since everything has to go aggregate, and i don&#39;t even think EC across IP properties (YT, G.com, etc) is
  tenable given antitrust
  •       Sissie Hsiao, 2020-10-os 09:25:oo
  well fwiw, I don&#39;t think the clustering is *that* bad.
  •       Sissie Hsiao, 2020-10-os 09:25:12




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  I think they&#39;re thinking 1000 kanon. for targeting at least, that doesn&#39;t seem too awful.
  •       Sissie Hsiao, 2020-10-os 09:25:26
  on EC, I don&#39;t get the antitrust point
  •       Sissie Hsiao, 2020-10-os 09:25:31
  Everyone who has sign in, can go for it, right?
  •       DavidMitby, 2020-10-os 09:25:48
  right now, yes -- but do you think we can (in 5 years) for sure keep using like G.com data on YT and vice
  versa?
  •       DavidMitby, 2020-10-os 09:26:03
  especially when other players can&#39;t share data?
  •       Sissie Hsiao, 2020-10-os 09:26:23
  that&#39;s an extension of the big tech++ argument
  •       DavidMitby, 2020-10-os 09:26:25
  mmaybe that&#39;s a far out risk and coupled more with potential company break-up ... but i oculd see
  intermediates where we are told not to mix data across
  •       DavidMitby, 2020-10-os 09:27:23
  right, that part might be far out but not having cookies or device ids accelerates the wall garden approaches (e.g.
  Amazon and FB should buy up a bunch of properties to share data between), which further casts scrutiny on
  antitrust, including on Google
  •       Sissie Hsiao, 2020-10-os 09:28:22
  yah
  •       Sissie Hsiao, 2020-10-os 09:28:23
  that is the arc
  •       Sissie Hsiao, 2020-10-os 09:28:26
  dunno what to do
  •       Sissie Hsiao, 2020-10-os 09:28:34
  i feel there isn&#39;t enough for sundar to pump the brakes
  •       Sissie Hsiao, 2020-10-os 09:28:36
  only to maybe stall
  •       Sissie Hsiao, 2020-10-os 09:28:46
  and evenso, ads has totally not got their stuff in order
  •       Sissie Hsiao, 2020-10-os 09:28:48
  no $ associated yet
  •       DavidMitby, 2020-10-os 09:29:22
  i think there is enough hit with Android to pump brakes -- $XXB
  •       Sissie Hsiao, 2020-10-os 09:30:22
  y so let&#39;s land something reasonable in 2021 so that the later parts are deferred ... maybe forever don&#39;t
  know
  •       Sissie Hsiao, 2020-10-os 09:30:48




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  we will continue to have Mike poke
  •       Sissie Hsiao, 2020-10-os 09:30:51

  (and probably Vids too)
  •       Sissie Hsiao, 2020-10-os 09:31:01

  it&#39;s ve3ry situational to how apple pushes
  •       DavidMitby,2020-10-os 09:31:13

  i think also the lesson from chrome should be to not proactively announce or go a direction that costs $XXB
  until the alternative solutions are really ready
  •       DavidMitby,2020-10-os 09:31:35

  unless we&#39;re completely pushed either by regulation or like iphones flying off the shelves due to
  perceptions of privacy deltas
  •       Sissie Hsiao, 2020-10-os 09:32:03

  I think Mike and team would argue, let&#39;s build that alternative in the background
  •       DavidMitby,2020-10-os 09:32:04

  i could only see that ifwe think we aren&#39;t investing enough in like ODA because it&#39;s only a hedge,
  but seems solvable to invest there as a very real hedge vs. R&amp;D
  •       DavidMitby,2020-10-os 09:32:14

  i don&#39;t think anyone disagrees with that
  •       Sissie Hsiao, 2020-10-os 09:32:15

  I don&#39;t disagree, but that&#39;s a fxn of resourcing, to me.
  •       Sissie Hsiao, 2020-10-os 09:32:42

  I think we should ask for both. Plan A and also a backup build for Plan B (k-anon)
  •       DavidMitby,2020-10-os 09:32:53

  yes, i think there&#39;s alignment that we need to do more on Android with aggregation/ ODA. .. but just want
  to avoid some public announcements and aslo woudln&#39;t want to hold back efforts to make device_id more
  likely to survive the long-term
  •       Sissie Hsiao, 2020-10-os 09:33:oo

  what&#39;s ODA
  •       DavidMitby,2020-10-os 09:33:04

  on device ads
  •       Sissie Hsiao, 2020-10-os 09:33:08

  ohok
  •       Sissie Hsiao, 2020-10-os 09:33:12

  how exactly would ODA work?
  •       DavidMitby,2020-10-os 09:33:52

  good question Q. roughly it&#39;s the gboard thing where you have models running on the phone, and the
  training data that gets sent to servers is aggregated so it&#39;s not PII, and then models come back to the phone
  •       DavidMitby, 2020-10-os 09:34:29




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  works better though for something like gBoard autocomplete because you don&#39;t need to have a near
  unlimited corpus of options, like we do in ads ... for ads right now you end up precaching like a few thousand
  ads on the device to choose from
  •       DavidMitby,2020-10-os 09:34:50

  so unclear how to fully bridge that where you could pull from millions of candidates
  •       DavidMitby,2020-10-os 09:35:12

  and of course issues with battery life and such
  •       Sissie Hsiao, 2020-10-os 09:35:26
  Have you talked with Deepak about the Turtle Augury stuff?
  •       Sissie Hsiao, 2020-10-os 09:35:33
  They&#39;re trying to predict what ads to send down to cache.
  •       DavidMitby,2020-10-os 09:35:43

  and with both aggregation and ODA, i think serious issues in the biz model since we put our IP into making the
  clusters, and are generally having to give that away for free to a more leveled playing field IMO
  •       DavidMitby, 2020-10-os 09:35:56
  yeah, can use similar for ODA. .. so it&#39;s plausible
  •       DavidMitby, 2020-10-os 09:36:24
  i mean even server-side auctions do some shard retrieval that isn&#39;t per-auction, so the idea of starting with
  a limited set of ads isn&#39;t totally deal breaker
  •       David Mitby, 2020-10-os 09: 37: 16
  to me we should resource these alterantives, and then have internal alignment on realistic timelines and the
  revenue tradeoffwe&#39;d take to proactively jump to them
  •       DavidMitby, 2020-10-os 09:38:20
  i&#39;d personally also push sundar-level to take more of a stance on the user value of ads personalization and
  driving free content to try to change the narrative
  •       DavidMitby,2020-10-os 09:38:53

  we&#39;re an ads company that&#39;s retreating from ads ... and we have YT content creators and such that
  will take 30%+ hits in their paychecks for no real user value on the other side
  •       DavidMitby, 2020-10-os 09:40:01
  FB is taking more of a stand:
  •       DavidMitby, 2020-10-os 09:40:02
  <a href="https://www.google.com/url? q=https://www.cnbc.com/2020/ 10/06/facebook-revenue-chief-says-ad-
  supported-model-is-under-assault-
  .html&amp; sa=D&amp; source=hangouts&amp;ust= 1602261602636000&amp;usg=AFQjCNHUGdHsM_ dGPk
  PpZ69Pls _ W0u9 Lzw">https ://www.cnbc.com/2020/10/06/facebook-revenue-chief-says-ad-supported-model-
  is-under-assault-.html</a>
  •       DavidMitby, 2020-10-os 10:21:00
  hearing rumors that our retail HC is coming through from the pragh grant?
  •       Sissie Hsiao, 2020-10-os 10:23:13
  maybe, i&#39;m hearinv positive vibes
  •       SissieHsiao,2020-10-os 10:23:17




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  on this one here
  •       Sissie Hsiao, 2020-10-os 10:23:30
  200-600 incremental gross rev ... doesn&#39;t seem super high for maybe not small work?
  •       David Mitby, 2020-10-os 10: 24: 37
  yeah, i personally think it&#39;s on the higher end of that (sellside of course thinks it&#39;s low), but either
  way not crazy massive ... i think fair to drill in on the work but generally is a reuse of awbid work already done
  and just some contract shifting, and proably long-term saves heads potentially due to dropping multicall
  complexity over time
  •       SissieHsiao,2020-10-os 10:27:17

  mm .. contracts ... integration with mopub+ 5 other platforms ...
  •       Sissie Hsiao, 2020-10-os 10:27:28
  may need per platform bidding tuning
  •       DavidMitby, 2020-10-os 10:29:31
  on the retail HC, sounds like it&#39;s more of a done deal (UX pinging me) and even in Pez already
  •       Sissie Hsiao, 2020-10-os 10:34:28
  ux hears way ahead of me!
  •       Sissie Hsiao, 2020-10-os 10:34:29
  0
  •       David Mitby, 2020-10-os 10: 35: 40
  vultures when it comes to HC ...




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                             Exhibit 4QQ
                           Custodian: Adam Juda
                 Bates No.: GOOG-AT-MDL-012534780
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                                        89098
  Message


  From:         pfb@google.com [pfb@google.com]
  Sent:         3/2/2023 11:44:01 PM
  To:           pfb@google.com; juda@google.com
  Subject:      q npOG kAAAAE-M Bl-FLAT:2023-03-02T04:44:01.59177 6



  pfb@google.com March 2, 2023 at 11 :44:01 PM UTC
  Re Vinden renewal - early flag that AdSpam have some serious invalid traffic concerns about the Prorateer
  section of Vin den's business. They may want to advocate not to renew the contract.



  pfb@google.com March 2, 2023 at 11 :44:12 PM UTC
  I don't have share access but this is their summary doc -
  https ://docs.google. com/document/d/1 osE3FQTBJV 1wxJkflEtVZhxP9v5u ne 1Gk 1wyKOXevSg/edit?usp=d rivesd k&
  resourcekey=O-yGVWFoh7-o-DjQ9ZSoisUQ Summary - suspicious shift in traffic from IN/ BD to US following
  geoRT launch (go/disable-geort-aoi-launch), traffic from data centers (possibly VPNs) along with specific
  advertisers complaints about invalid activity.
  https://drive .google .com/open?id= 1osE3FQTBJV1 wxJ kflEtVZhxP9v5u ne 1Gk1 wyK0XevSg
  https://docs.google .com/document/d/1 osE3FQTBJV 1wxJ kflEtVZhxP9v5une1 Gk1 wyK0XevSg/edit?
  usp=drivesdk&resourcekey=0-yGVWFoh 7-o-DjQ9ZSoisUQ
  http://goto .goog le .com/d isable-geort-aoi-la unch


  pfb@google.com March 2, 2023 at 11 :44:49 PM UTC
  My team will work to get AdSpam's viewpoint represented to gAFS (possibly inviting Per to attend).



  juda@google.com March 2, 2023 at 11 :47:54 PM UTC
  sounds like a plan. my understanding is that it is currently unclear if Vinden is only "guilty" of using GDN to source
  traffic, or if Vind en behind the scenes is also the source of the bad traffic flowing through their GDN campaigns.
  Happy to go wherever data and truth take us though.



  pfb@google.com March 2, 2023 at 11 :49:26 PM UTC
  •




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